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                     UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF OHIO
                   WESTERN DIVISION (CINCINNATI OHIO)

FRIEDA AARON                         )
8515 BREEZEWOOD COURT, #103          )       CASE NO.
CINCINNATI, OH 45203                 )
                                     )       JUDGE
AND                                  )
                                     )
PATRICIA ADAMS                       )
476 HARTS CREEK                      )       COMPLAINT WITH JURY
HARTS, WV 25524                      )       DEMAND ENDORSED HEREON
                                     )
AND                                  )
                                     )
MICHELLE AGEE                        )
911 SECOND AVENUE                    )
MIDDLETOWN, OH 45044                 )
                                     )
AND                                  )
                                     )
LAURA AKER                           )
5730 BRANDTMANOR DR.                 )
CINCINNATI, OH 45248                 )
                                     )
AND                                  )
                                     )
JAMES ALBERS                         )
2718 PINEVIEW DRIVE                  )
VILLA HILLS, KY 41017                )
                                     )
AND                                  )
                                     )
JIMMY ALLEN                          )
3165 BLUE CREEK ROAD                 )
BROOKVILLE, INDIANA 47012            )
                                     )
AND                                  )
                                     )
KATRINA ALLEN                        )
5608 ZOAR ROAD, LOT 277              )
MORROW, OH 45215                     )
                                     )
AND                                  )
                                     )

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SHERRI ALLEN                 )
7420 WYNNE PLACE, APT. 6     )
CINCINNATI, OH 45233         )
                             )
AND                          )
                             )
REBECCA APPLEGATE            )
11 MONTGOMERY WAY            )
AMELIA, OH 45102             )
                             )
AND                          )
                             )
BRAD ARNOLD                  )
18 HARNESS LANE              )
FLORENCE, KY 41042           )
                             )
AND                          )
                             )
GEORGE ARNOLD                )
10647 CHESHIRE RIDGE DRIVE   )
FLORENCE, KY 41042           )
                             )
AND                          )
                             )
DIANA ASHCRAFT               )
38-B SPRING STREET           )
ELSMERE, KY 41018            )
                             )
AND                          )
                             )
BRIAN ATKINS                 )
9500 COLLETT ROAD, LOT 24    )
WAYNESVILLE, OH 45068        )
                             )
AND                          )
                             )
JONATHAN ATWELL              )
5143 MONTEREY MAPLE GROVE RD )
BATAVIA, OH 45103            )
                             )
AND                          )
                             )
THOMAS ATKINSON              )
2544 LITTLE DRY RUN ROAD     )
CINCINNATI, OHIO 45244       )
                             )

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AND                                  )
                                     )
CHRISTOPHER ATWOOD                   )
3399 KY. ROUTE 910                   )
LIBERTY, KY 42539                    )
                                     )
AND                                  )
                                     )
THOMAS AUGST                         )
314 A ST. ANDREWS DRIVE              )
CINCINNATI, OH 45245                 )
                                     )
AND                                  )
                                     )
JOSH AULT                            )
7402 STATE ROAD 48                   )
AURORA, IN 47001                     )
                                     )
AND                                  )
                                     )
AMANDA AYRES                         )
10 NORTH MAIN ST.                    )
WALTON, KY 41094                     )
                                     )
AND                                  )
                                     )
GAYLE BACHMANN                       )
2239 MOSSY GROVE                     )
HAMILTON, OH 45013                   )
                                     )
AND                                  )
                                     )
CAIDAN BAILEY                        )
2491 CAMELLIA COURT                  )
COVINGTON, KY 41017                  )
                                     )
AND                                  )
                                     )
NICOLE BAKER                         )
7570 NEWKIRK DR.                     )
FAIRFIELD, OH 45014                  )
                                     )
AND                                  )
                                     )
PAUL BAKER                           )
14 PICCADILLY DRIVE                  )

                                         3
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HAMILTON, OH 45013                   )
                                     )
AND                                  )
                                     )
JENNIFER BALLINGER                   )
1718 MILL VALLEY                     )
TAYLOR MILL, KY 41017                )
                                     )
AND                                  )
                                     )
THOMAS BARTH                         )
1850 LEWAY DRIVE                     )
FAIRFIELD, OH 45014                  )
                                     )
AND                                  )
                                     )
CINDY BARTLETT                       )
4652 CATALPA COURT                   )
FORT WRIGHT, KY 41017                )
                                     )
AND                                  )
                                     )
LAURA BATSCHE                        )
6655 SHADY OAK LANE                  )
MASON, OH 45040                      )
                                     )
AND                                  )
                                     )
NICHOLAS BATTISTA                    )
6263 JESSICA COURT                   )
MIDDLETOWN, OH 45044                 )
                                     )
AND                                  )
                                     )
JODY BAUER                           )
4241 ROSELAWN AVENUE                 )
BATAVIA, OH 45103                    )
                                     )
AND                                  )
                                     )
JOSEPH BAUMGARDNER                   )
10252 LIMERICK CIRCLE                )
COVINGTON, KY 41015                  )
                                     )
AND                                  )
                                     )

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STEVEN BAYLISS, EXECUTOR OF THE
ESTATE OF LOUISE BAYLISS,     )
DECEASED                      )
36 SHERATON COURT             )
HAMILTON, OH 45013            )
                              )
AND                           )
                              )
MICHELLE BEAVAN               )
875 AUTUMN COURT              )
TRENTON, OH 45067             )
                              )
AND                           )
                              )
PHYLLIS BECHTOLD              )
1937 MT. VERNON DRIVE         )
FT. WRIGHT, KY 41011          )
                              )
AND                           )
                              )
JUDY BECK                     )
215 BLUE QUAIL PLACE          )
TRENTON, OH 45067             )
                              )
AND                           )
                              )
TROY BECKELHEIMER             )
1975 JUNCTION PIKE            )
BERRY, KY 41003               )
                              )
AND                           )
                              )
NANCY BEGLEY                  )
5628 YEATMAN ROAD             )
CINCINNATI, OH 45252          )
                              )
AND                           )
                              )
CATHY BEIL                    )
6780 EAST BEND ROAD           )
BURLINGTON, KY 41005          )
                              )
AND                           )
                              )
TERRY BEIL                    )
P.O. BOX 132                  )

                                        5
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PERRY PARK, KY 40363                 )
                                     )
AND                                  )
                                     )
MACKENZIE BENDER                     )
316 FARMBROOK CIRCLE                 )
FRANKFORT, KY 40601                  )
                                     )
AND                                  )
                                     )
DENISE BENGE                         )
932 CROSSINGS DRIVE                  )
CRESCENT SPRINGS, KY 41017           )
                                     )
AND                                  )
                                     )
NICK BENGE                           )
932 CROSSINGS DRIVE                  )
CRESCENT SPRINGS, KY 41017           )
                                     )
AND                                  )
                                     )
ANTOINETTE BENJAMIN                  )
7 EAST LAKEVIEW DRIVE, #17           )
CINCINNATI, OH 45237                 )
                                     )
AND                                  )
                                     )
SHAWNDA BENTON                       )
1908 SAVANNAH WAY, APT. #9           )
CINCINNATI, OH 45224                 )
                                     )
AND                                  )
                                     )
WILLIAM BENTON                       )
8124 TIMBERTREE WAY                  )
WEST CHESTER, OH 45069               )
                                     )
AND                                  )
                                     )
DENISE BESS                          )
1873 TIMBERIDGE DRIVE                )
LOVELAND, OH 45140                   )
                                     )
AND                                  )
                                     )

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LEONA BEYER                          )
325 KENYON DRIVE                     )
HAMILTON, OH 45015                   )
                                     )
AND                                  )
                                     )
TREY BILLING                         )
10206 OAK CREEK DR.                  )
SIDNEY, OH 45365                     )
                                     )
AND                                  )
                                     )
EDYTHE BISHOP                        )
413 BARKLEY                          )
FALMOUTH, KY 41040                   )
                                     )
AND                                  )
                                     )
ANTHONY BODE                         )
5155 DEERIDGE LANE                   )
CINCINNATI, OHIO 45247               )
                                     )
AND                                  )
                                     )
BARBARA BOGGS, DECEASED,             )
BY AND THROUGH HER SON               )
AND NEXT FRIEND,                     )
PAUL BOGGS                           )
3815 SNOOK ROAD                      )
MORROW, OH 45152                     )
                                     )
AND                                  )
                                     )
KAITLYN BOGGS                        )
159 DORTMUND DRIVE                   )
FAYETTEVILLE, OH 45118               )
                                     )
AND                                  )
                                     )
HAWKS, STEPHANIE, AS                 )
EXECUTRIX OF THE ESTATE              )
OF NANCY BOLAND                      )
7133 DIMMICK ROAD                    )
WEST CHESTER, OH 45069               )
                                     )
AND                                  )

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                                     )
JENNIFER BOOKMAN                     )
111 W 3RD AVENUE                     )
COLUMBUS, OH 43201                   )
                                     )
AND                                  )
                                     )
PATRICIA BOONE                       )
1018 BRIGHTON STREET                 )
NEWPORT, KY 41071                    )
                                     )
AND                                  )
                                     )
DEENA BORCHERS                       )
5057 SANDMANN DRIVE APT. 117         )
TAYLOR MILL, KY 41015                )
                                     )
AND                                  )
                                     )
DORIS BOTNER                         )
6060 EDDINGTON DRIVE                 )
LIBERTY TOWNSHIP, OH 45044           )
                                     )
AND                                  )
                                     )
GERALD BOTNER                        )
6060 EDDINGTON DRIVE                 )
LIBERTY TOWNSHIP, OH 45044           )
                                     )
AND                                  )
                                     )
ARLETTA BOWLING                      )
843 VIRGINA BRADFORD                 )
ELSMERE, KY 41018                    )
                                     )
AND                                  )
                                     )
NANCY BOWMAN                         )
1188 LICKERT ROAD                    )
ALEXANDRIA, KY 41001                 )
                                     )
AND                                  )
                                     )
PENNY BRACKETT                       )
8735 LOCUST GROVE RD.                )
BURLINGTON, KY 41005                 )

                                         8
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                                     )
AND                                  )
                                     )
LATOYA BRADSHAW                      )
2701 OAKLEAF AVE. APT 3              )
CINCINNATI, OH 45212                 )

AND                                  )
                                     )
REBEKAH BRADY                        )
212 LOCUST LANE                      )
FLORENCE, KY 41042                   )
                                     )
AND                                  )
                                     )
CHRISTINA BRASHEAR                   )
6231 PAULLIN DRIVE                   )
MIDDLETOWN, OH 45042                 )
                                     )
AND                                  )
                                     )
MELISSA BRAUCHER                     )
4100 WOODMONT DRIVE                  )
BATAVIA, OH 45103                    )
                                     )
AND                                  )
                                     )
DOMINQUE BRAY                        )
805 BUNNING LANE                     )
COLD SPRING, KY 41076                )
                                     )
AND                                  )
                                     )
LINDSEY BRAY                         )
14189 PLUM CREEK ROAD                )
BUTLER, KENTUCKY 41006               )
                                     )
AND                                  )
                                     )
BRITTANY & JEREMY BREWER             )
3046 LELIA LANE                      )
FAIRFIELD, OH 45014                  )
                                     )
AND                                  )
                                     )
RANDY BREWER                         )

                                         9
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5931 MARSH CIRCLE                    )
LOVELAND, OH 45140                   )
                                     )
AND                                  )
                                     )
SHARON BRICE                         )
5504 KENNEDY AVENUE                  )
CINCINNATI, OH 45213                 )
                                     )
AND                                  )
                                     )
MELVIN JAMES, EXECUTOR OF            )
THE ESTATE OF CARRIE BRITTEN,        )
DECEASED                             )
4531 PADDOCK RD.                     )
APT. #1                              )
CINCINNATI, OH 45229                 )
                                     )
AND                                  )
                                     )
MICHAEL BROPHY                       )
434 BIRCH                            )
ERLANGER, KY 41018                   )
                                     )
AND                                  )
                                     )
BROREIN, RICHARD, AS                 )
EXECUTOR OF THE ESTATE OF            )
EILEEN BROREIN                       )
1024 STONEGATE CT.                   )
WAPAKONETA, OH 45895                 )
                                     )
AND                                  )
                                     )
DAWN LEE ANN BROWN                   )
2574 LINDEN STREET                   )
CINCINNATI, OH 45225                 )
                                     )
AND                                  )
                                     )
JAMES BROWN                          )
1610 NEILSON PLACE                   )
CINCINNATI, OHIO 45230               )
                                     )
AND                                  )
                                     )

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TARA BROWN                           )
4207 ST. THOMAS AVE.                 )
LOUISVILLE, KY 40218                 )
                                     )
AND                                  )
                                     )
LOZIER, RICHARD, AS EXECUTOR         )
OF THE ESTATE PATRICIA BRUCE         )
3904 LORI DRIVE, APT. 7              )
ERLANGER, KY 41018                   )
                                     )
AND                                  )
                                     )
JONATHAN BRUNNER                     )
302 ARDMORE DRIVE                    )
MIDDLETOWN, OH 45042                 )
                                     )
AND                                  )
                                     )
ANGELA BUECHEL                       )
388 MARIAN LANE #9                   )
FLORENCE, KY 41042                   )
                                     )
AND                                  )
                                     )
KAYLA BURTON                         )
10892 COLLINS RILEY RD.              )
BLANCHESTER, OH 45107                )
                                     )
AND                                  )
                                     )
VICKI BUSCHUR                        )
4927 COLUMBIA CIRCLE                 )
HAMILTON, OH 45011                   )
                                     )
AND                                  )
                                     )
KATHLEEN BUSHELMAN                   )
35 SHERRY ROAD, APT. 1E              )
WYOMING, OH 45215                    )
                                     )
AND                                  )
                                     )
JACK BUSKIRK, ADMINISTRATOR          )
OF THE ESTATE OF ANNETTE             )
BUSKIRK                              )

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5032 COLLEGE CORNER PIKE #59         )
OXFORD, OH 45056                     )
                                     )
AND                                  )
                                     )
BRENDA BUTLER                        )
3515 CARLISLE AVENUE                 )
LATONIA, KENTUCKY 41015              )
                                     )
AND                                  )
                                     )
MICHELLE BYAR                        )
22 JILLIAN DRIVE                     )
DRY RIDGE, KY 41035                  )
                                     )
AND                                  )
                                     )
TIMOTHY BYRD                         )
482 #A OXFORD DRIVE                  )
LEBANON, OHIO 45036                  )
                                     )
AND                                  )
                                     )
DOUG CALLAHAN                        )
7251 COSNER DRIVE                    )
HUBER HEIGHTS, OH 45424              )
                                     )
                                     )
PATRICK CALLAGAN                     )
6446 HUGHES RIDGE LANE               )
HAMILTON, OH 45052                   )
                                     )
AND                                  )
                                     )
JANET CAMPBELL                       )
1109 STATE ROUTE 133                 )
BETHEL, OH 45106                     )
                                     )
AND                                  )
                                     )
ROBERT CAMPBELL                      )
7668 OLD WALNUT DRIVE                )
WEST CHESTER, OHIO 45069             )
                                     )
AND                                  )
                                     )

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ANDREW CARR                          )
28529 SHORT LANE                     )
BROOKEVILLE, IN 47012                )
                                     )
AND                                  )
                                     )
ASHLEY CASEY                         )
1060 OAKWOOD CT.                     )
INDEPENDENCE, KY 41051               )
                                     )
AND                                  )
                                     )
BUNNAVUTH CHHUN                      )
403 LOREN LANE                       )
HAMILTON, OH 45011                   )
                                     )
AND                                  )
                                     )
TONYA CHISMAN                        )
3584 TOWNSEND ROAD                   )
LYNCHBURG, OH 45142                  )
                                     )
AND                                  )
                                     )
CHRIS CLARK                          )
219 BASSETT STREET                   )
CLEVES, OH 45022                     )
                                     )
AND                                  )
                                     )
JESSICA COCHRAN                      )
5518 JANDEL DRIVE                    )
AURORA, IN 47001                     )
                                     )
AND                                  )
                                     )
JOHN COLLINS                         )
10977 LINCOLN AVE #3                 )
NORTHBEND, OH 45052                  )
                                     )
AND                                  )
                                     )
TERRY COLLINS                        )
256 ERLANGER ROAD                    )
ERLANGER, KY 41018                   )
                                     )

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AND                                  )
                                     )
ELIZABETH COMPO                      )
9069 BRAXTON DRIVE                   )
UNION, KY 41091                      )
                                     )
AND                                  )
                                     )
DAVID CONGER                         )
653 KATHRYN DRIVE                    )
WILMINGTON, OH 45177                 )
                                     )
AND                                  )
                                     )
KENNETH CONGER                       )
653 KATHRYN DRIVE                    )
WILMINGTON, OH 45177                 )
                                     )
AND                                  )
                                     )
BRENDA CONLEY                        )
2468 CHERRY STREET #1                )
CRESCENT SPRINGS, KY 41017           )
                                     )
AND                                  )
                                     )
DANA CONLEY                          )
2003 HENRY AVENUE                    )
MIDDLETOWN, OH 45042                 )
                                     )
AND                                  )
                                     )
LISA CONLEY                          )
38 ASH STREET                        )
LUDLOW, KY 41016                     )
                                     )
AND                                  )
                                     )
FRANCENE COOK                        )
3010 MELROSE AVE. #1                 )
CINCINNATI, OH 45206                 )
                                     )
AND                                  )
                                     )
MICHAEL COOK                         )
161 MIDWAY DRIVE                     )

                                         14
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WILMINGTON, OH 45177          )
                              )
AND                           )
                              )
GARY L. COOTS                 )
14387 DIXON RD.               )
MORNINGVIEW, KY 41063         )
                              )
AND                           )
                              )
JANET CORNETT                 )
147 BENT TREE DR.             )
COVINGTON, KY 41017           )
                              )
AND                           )
                              )
MELISSA & MICHAEL COTTER,     )
INDIVIDUALLY, AND ON BEHALF   )
OF THEIR MINOR SON,           )
JACOB COTTER                  )
6202 OTTER CREEK DR.          )
MIDDLETOWN, OH 45042          )
                              )
AND                           )
                              )
BARBARA COUCH                 )
750 GRAND AVE APT 408         )
CINCINNATI. OH 45205          )
                              )
AND                           )
                              )
COUCH, SANDRA, ADMINISTRATRIX )
OF THE ESTATE OF JACKIE COUCH )
9099 MARSH WILLOW COURT       )
WEST CHESTER, OH 45069        )
                              )
AND                           )
                              )
ERIC COURTNEY                 )
232 MILLER AVE.               )
ASHEVILLE, OH 43107           )
                              )
AND                           )
                              )
MICHAEL CRAIL                 )
1887 HAPPY VALLEY DR.         )

                                       15
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FAIRFIELD OH, 45014           )
                              )
AND                           )
                              )
KAREN CRISSINGER              )
1228 WEST CLARK STREET        )
SPRINGFIELD, OH 45177         )
                              )
AND                           )
                              )
JOI CROWE                     )
1203 ANTHONY LANE             )
MASON, OH 45040               )
                              )
AND                           )
                              )
FORREST AND CARRIE CROWE      )
INDIVIDUALLY AND ON BEHALF OF )
THEIR MINOR DAUGHTER          )
KALI CROWE                    )
2780 GUMGROVE ROAD            )
CLARKSVILLE, OHIO 45113       )
                              )
AND                           )
                              )
JOY CULLINS                   )
5429 SONGBIRD DRIVE           )
CINCINNATI, OH 45239          )
                              )
AND                           )
                              )
KATHRYN CURLEY                )
134 LEWIS DRIVE               )
FORT MITCHELL, KY 41017       )
                              )
AND                           )
                              )
JAMES CUZZORT                 )
222 MULBERRY STREET           )
RISING SUN, IN 47040          )
                              )
AND                           )
                              )
WILLIAM DABNEY                )
1818 HEWITT AVE.              )
CINCINNATI, OH 45207          )

                                       16
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                             )
AND                          )
                             )
MCCAUGHEY, CHRISTOPHER, AS   )
ADMINISTRATOR OF             )
THE ESTATE OF MARGARET DAILEY)
599 IVY RIDGE DRIVE          )
COLD SPRINGS, KY 41076       )
                             )
AND                          )
                             )
TAMMY DALE                   )
439 MORROW ROAD, LOT 79      )
SOUTH LEBANON, OH 45065      )
                             )
AND                          )
                             )
SCOTT DANIEL                 )
249 WARD AVE                 )
BELLEVUE, KY 41073           )
                             )
AND                          )
                             )
JOSEPH DAVIS                 )
3635 KOHN DRIVE #4201        )
FAIRFIELD, OH 45015          )
                             )
AND                          )
                             )
NELLIE DAVIS                 )
97 BROOKWOOD DRIVE           )
WALTON, KY 41094             )
                             )
AND                          )
                             )
RALPH DAWSON                 )
209 APPLE VALLEY DRIVE       )
LEWISBERG, OH 45338          )
                             )
AND                          )
                             )
OLLIE DEATON                 )
310 GLASS DRIVE              )
CORINTH, KY 41010            )
                             )
AND                          )

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                                     )
STEFANIE DEATON                      )
11274 GRAVEN ROAD                    )
WALTON, KY 41094                     )
                                     )
AND                                  )
                                     )
DAMON DECK                           )
6611 ELGIN COURT                     )
BURLINGTON, KY 41005                 )
                                     )
AND                                  )
                                     )
SANDRA DENNIS                        )
3010 DELMAR AVENUE                   )
CINCINNATI, OH 45213                 )
                                     )
AND                                  )
                                     )
ROBERT DENSLER                       )
15750 BELMONT DRIVE                  )
CRITTENDON, KY 41030                 )
                                     )
AND                                  )
                                     )
KRISTINE DORITY                      )
6718 WOOD STREET                     )
GOSHEN, OH 45122                     )
                                     )
AND                                  )
                                     )
CAROLYN DOTSON                       )
3797 TRENTON ROAD                    )
HAMILTON, OH 45011                   )
                                     )
AND                                  )
                                     )
DEBORAH DOYLE                        )
2739 WEST NORTH BEND ROAD,           )
APT. #1                              )
CINCINNATI, OH 45239                 )
                                     )
AND                                  )
                                     )
DOUGLAS DRAFTS                       )
100 E. CENTRAL PARKWAY #413          )

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CINCINNATI, OH 45202                 )
                                     )
AND                                  )
                                     )
PATRICK DUGAN                        )
1239 SPOTTED FAWN RUN                )
MILFORD, OH 45150                    )
                                     )
AND                                  )
                                     )
BILLY DUGGER                         )
137 MINEER ROAD                      )
LYNCHBURG, OH 45142                  )
                                     )
AND                                  )
                                     )
DAWN DUNKLIN                         )
4249 SKYLARK DRIVE                   )
CINCINNATI, OH 45238                 )
                                     )
AND                                  )
                                     )
JACOB DURHAM                         )
439 MORROW ROAD #195                 )
LEBANON, OH 45065                    )
                                     )
AND                                  )
                                     )
DARRELL EARLS                        )
4115 KY HWY 16                       )
GLENCOE, KY 41046                    )
                                     )
AND                                  )
                                     )
CHRIS EBBING                         )
3987 JANWARD DR.                     )
CINCINNATI, OH 45211                 )
                                     )
AND                                  )
                                     )
MONA EDER                            )
1492 TUSCAN COURT                    )
FLORENCE, KY 41042                   )
                                     )
AND                                  )
                                     )

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KEVIN ELFERS                         )
928 BRIARWOOD COURT                  )
MASON, OH 45040                      )
                                     )
AND                                  )
                                     )
MCCLURE, BARBARA, AS                 )
EXECUTRIX OF THE ESTATE OF           )
CONNIE MCCLURE-ELLINGTON             )
260 HAMMOND LANE                     )
CORINTH, KY 41010                    )
                                     )
AND                                  )
                                     )
MCCLURE, BARBARA, AS                 )
EXECUTRIX OF THE ESTATE OF           )
ROBERT ELLINGTON                     )
260 HAMMOND LANE                     )
CORINTH, KY 41010                    )
                                     )
AND                                  )
                                     )
RICHARD ELLIOT                       )
120 BARTLETT AVENUE                  )
ERLANGER, KY 41018                   )
                                     )
AND                                  )
                                     )
KELLY ENGLE                          )
2595 ONTARIO ST.                     )
CINCINNATI, OH 45231                 )
                                     )
AND                                  )
                                     )
BRENDA ERRGANG                       )
PO BOX 40                            )
PERRY PARK, KY 40363                 )
                                     )
AND                                  )
                                     )
TRACY ESSELMAN                       )
90 FAIRLAND AVE                      )
WILMINGTON, OH 45177                 )
                                     )
AND                                  )
                                     )

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MARGIE EVERSOLE             )
303 WEST HIGH STREET        )
WARSAW, KY 41085 APT.#4     )
                            )
AND                         )
                            )
ARLENE FAIT                 )
10174 BURLEIGH LANE         )
UNION, KY 41091             )
                            )
AND                         )
                            )
BATES, KIMBERLY, AS         )
ADMINISTRATRIX OF THE       )
ESTATE OF TONY FALKNER      )
3 VANCE COURT               )
HAMILTON, OH 45015          )
                            )
AND                         )
                            )
LINDA FAVARON, EXECUTOR OF  )
THE ESTATE OF NEIL FAVARON, )
DECEASED                    )
136 SOUTH MASON-MONTGOMERY )
ROAD                        )
MASON, OH 45040             )
                            )
AND                         )
                            )
JACOB FELTNER               )
1668 HICKORY GROVE ROAD     )
FOSTER, KY 41013            )
                            )
AND                         )
                            )
KAREN FELTNER               )
1769 HIGHWATER ROAD         )
BROMLEY, KY 41017           )
                            )
AND                         )
                            )
ANGELA FERRELL              )
3037 BLUE HERON DRIVE       )
HAMILTON, OH 45011          )
                            )
AND                         )

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                                     )
DAMIAN FIELDS                        )
2134 HATMAKER STREET                 )
#3, CINCINNATI, OH 45204             )
                                     )
AND                                  )
                                     )
CAELA FINNELL                        )
704 BEAR COURT                       )
INDEPENDENCE, KY 41051               )
                                     )
AND                                  )
                                     )
TROY FITE                            )
811 COMMONS DRIVE                    )
MILFORD, OH 45150                    )
                                     )
AND                                  )
                                     )
ALYSSA FLATT                         )
3870 HAMMOND BLVD.                   )
HAMILTON, OH 45015                   )
                                     )
AND                                  )
                                     )
JOSH FOGEL                           )
1317 CROSSCREEK DRIVE                )
LOVELAND, OH 45140                   )
                                     )
AND                                  )
                                     )
FRANCINE FORD                        )
1214 RYLAND AVENUE                   )
CINCINNATI, OH 45237                 )
                                     )
AND

SHAMIYA FORD                         )
1214 RYLAND AVENUE                   )
CINCINNATI, OH 45237                 )
                                     )
AND                                  )
                                     )
LENNIE FOSSETT                       )
5617 DOERGER LANE                    )
CINCINNATI, OH 45212                 )

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                                     )
AND                                  )
                                     )
ANGELINA FOSTER                      )
2239 FOXBORO COURT                   )
ERIE, PA 16510                       )
                                     )
AND                                  )
                                     )
AMANDA FRANKS                        )
651 RUTLAND ROAD                     )
CYNTHIANA, KY 41031                  )
                                     )
AND                                  )
                                     )
JOANN FRAZIER                        )
2516 PEKIN ROAD                      )
SPRINGBORO, OH 45066                 )
                                     )
AND                                  )
                                     )
JULIE FREEMAN                        )
2081 CHASE WAY, APT. 313             )
INDEPENDENCE, KY 41051               )
                                     )
AND                                  )
                                     )
AMY FULLER                           )
401 DEER TRACE                       )
WALTON, KY 41094                     )
                                     )
AND                                  )
                                     )
JUDITH GARDNER                       )
9494 ST. RT. 136                     )
WEST UNION, OH 45693                 )
                                     )
AND                                  )
                                     )
CHRISTINE GERALDS                    )
1890 MISTY HILL DR.                  )
CINCINNATI, OH 45240                 )
                                     )
AND                                  )
                                     )
ERMA JEAN GILBERT                    )

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2523 HARRIS PIKE                     )
INDEPENDENCE, KY 41051               )
                                     )
AND                                  )
                                     )
CHRISTINE GOLDSTEIN                  )
1422 ASCHINGER BLVD.                 )
COLUMBUS, OH 43212                   )
                                     )
AND                                  )
                                     )
DONNA GOOD                           )
431 SHEPHERD AVENUE APT. 2           )
CINCINNATI, OH 45215                 )
                                     )
AND                                  )
                                     )
GREG GRABER                          )
3314 MEADOW GREEN COURT              )
AMELIA, OH 45102                     )
                                     )
AND                                  )
                                     )
MAURICE GRABOW                       )
13208 RYLE ROAD                      )
UNION, KY 41091                      )
                                     )
AND                                  )
                                     )
ERIN GREELISH                        )
1915 EMORY COURT                     )
HEBRON, KY 41048                     )
                                     )
AND                                  )
                                     )
GLORIA GREENE                        )
1106 WALNUT STREET                   )
HAMILTON, OH 45011                   )
                                     )
AND                                  )
                                     )
TODD GREEN                           )
2349 JOSHUA CIRCLE                   )
MIDDLETOWN, OH 45044                 )
                                     )
AND                                  )

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                                     )
ROBBIE GREGORY                       )
3899 SCHROEDER DRIVE                 )
HAMILTON, OH 45011                   )
                                     )
AND                                  )
                                     )
CARLA GRIESSMAN                      )
404 VICTORIA PLACE                   )
TRENTON, OH 45067                    )
                                     )
AND                                  )
                                     )
SUSAN GRIFFIN                        )
4915 ANDREW STREET                   )
ST. BERNARD, OH 45217                )
                                     )
AND                                  )
                                     )
JENNY GRIMM                          )
134 GARVEY AVENUE                    )
ELSMERE, KY 41018                    )
                                     )
AND                                  )
                                     )
MELISSA HABERMEHL                    )
3184 VERONA-MUDLICK ROAD             )
VERONA, KY 41092                     )
                                     )
AND                                  )
                                     )
KEVIN HAGGARD                        )
6190 RIDGEWOOD COURT                 )
FLORENCE, KY 41042                   )
                                     )
AND                                  )
                                     )
LENORA HAGGARD                       )
6190 RIDGEWOOD COURT                 )
FLORENCE, KY 41042                   )
                                     )
AND                                  )
                                     )
TAURA HALBERT, INDIVIDUALLY          )
AND ON BEHALF OF                     )
HER SON, PARIS HALBERT               )

                                         25
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5209 WARD STREET                     )
CINCINNATI, OH 45227                 )
                                     )
AND                                  )
                                     )
LYNN HALEY                           )
12968 WYNEWOOD TRAIL                 )
INDEPENDENCE, KY 41051               )
                                     )
AND                                  )
                                     )
ALYSSA HALL                          )
13005 WYNEWOOD TRAIL                 )
INDEPENDENCE, KY 41051               )
                                     )
AND                                  )
                                     )
DAVID HALL, ADMINISTRATOR            )
OF THE ESTATE OF LISA HALL           )
13005 WYNEWOOD TRAIL                 )
INDEPENDENCE, KY 41051               )
                                     )
AND                                  )
                                     )
RUHAMA HALL                          )
31 COUNTY SEAT                       )
BATAVIA, OH 45103                    )
                                     )
AND                                  )
                                     )
DOROTHEA HAMILTON                    )
1228 STATE ROUTE 380                 )
WILMINGTON, OH 45177                 )
                                     )
AND                                  )
                                     )
SAMANTHA HAMILTON                    )
613 MILLVILLE-OXFORD ROAD            )
HAMILTON, OH 45013                   )
                                     )
AND                                  )
                                     )
DENISE HAMILTON,                     )
INDIVIDUALLY, AND ON BEHALF          )
OF HER MINOR SON, WILLIAM            )
HAMILTON                             )

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98 WEST FOSTER                       )
MAINEVILLE, OH 45039                 )
                                     )
AND                                  )
                                     )
COURTNEY HAMMONS                     )
312 ROSS AVENUE, APT. 3              )
HAMILTON, OH 45013                   )
                                     )
AND                                  )
                                     )
GERALD HAMMONS                       )
14001 DECORUSEY PARK                 )
MORNINGVIEW, KY 41063                )
                                     )
AND                                  )
                                     )
RYAN HANDORF                         )
5407 KINGS RIDGE WAY                 )
KINGS MILLS, OH 45034                )
                                     )
AND                                  )
                                     )
TIMOTHY HANNON                       )
181 MILLVILLE-OXFORD ROAD            )
HAMILTON, OH 45013                   )
                                     )
AND                                  )
                                     )
DAVID HARRIS                         )
170 RICHARDSON PLACE, #1             )
CINCINNATI, OH 45233                 )
                                     )
AND                                  )
                                     )
ADAM HARTMAN                         )
4110 RANDALL PARKWAY, APT. 1F        )
WILMINGTON, NC 28403                 )
                                     )
AND                                  )
                                     )
KEVIN HARTNESS                       )
1070 BETHEL NEW RICHMOND RD.         )
APT. 15                              )
NEW RICHMOND, OH 45157               )
                                     )

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AND                           )
                              )
JESSICA HASTINGS              )
6655 SHADY OAK LANE           )
MASON, OH 45040               )
                              )
AND                           )
                              )
WAYNE HATFIELD                )
13 CEDAR DRIVE                )
STERLING, VA 20164            )
                              )
AND                           )
                              )
SARA HAUENSTEIN               )
600 NW 80TH AVENUE            )
OCALA, FL 34482               )
                              )
AND                           )
                              )
DOUGLAS HAYES, SR.            )
2900 ARMCO DR.                )
MIDDLETOWN, OH 45042          )
                              )
AND                           )
                              )
LARRY STEPHEN HAYES           )
AS ADMINISTRATOR OF THE       )
ESTATE OF WILLIAM HAYES       )
3229 GLENGYLE AVE., #1        )
CINCINNATI, OH 45208          )
                              )
AND                           )
                              )
CHRISTOPHER HAYNES, AS FATHER )
AND NEXT FRIEND OF            )
EMILY HAYNES, A MINOR         )
4037 WITHROW ROAD             )
HAMILTON, OH 45011            )
                              )
AND                           )
                              )
MINUET HEALY                  )
1921 MEARS AVENUE, APT. 2     )
CINCINNATI, OHIO 45230        )
                              )

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AND                          )
                             )
LESLIE POWERS, ADMINISTRATOR )
FOR THE ESTATE OF            )
HEATHER HEFFNER, DECEASED,   )
3815 HAMILTON-MASON ROAD     )
HAMILTON, OH 45011           )
                             )
AND                          )
                             )
DENISE HELTON                )
1206 2ND STREET              )
READING, OH 45215            )
                             )
AND                          )
                             )
EVELYN HELTON                )
6855 MORROW-ROSSBURG ROAD    )
MORROW, OH 45152             )
                             )
AND                          )
                             )
THERESA HELTON               )
4700 WEST FORK ROAD          )
CINCINNATI, OH 45247         )
                             )
AND                          )
                             )
DEBRA HENDERSON              )
765 SANDERS DRIVE            )
HAMILTON, OH 45013           )
                             )
AND                          )
                             )
KELLY HENNESSY               )
4226 TURRILL STREET          )
CINCINNATI, OH 45223         )
AND                          )
                             )
BARBARA HENSLEY              )
12063 DECKER                 )
RICHWOOD, KY 41094           )
                             )
AND                          )
                             )
RYAN HENSLEY                 )

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6298 E. HIGHWAY 221           )
BLEDSOE, KY 40810             )
                              )
AND                           )
                              )
KATHY HERSLEY, AS MOTHER AND )
NEXT FRIEND OF EMILY HERBERT, )
A MINOR,                      )
505 EAST MAIN                 )
GREENSBURG, IN 47240          )
                              )
AND                           )
                              )
KATHY HERSLEY                 )
505 EAST MAIN                 )
GREENSBURG, IN 47240          )
                              )
AND                           )
                              )
JENNIFER HICKEY               )
9093 WISTERIA COURT           )
FLORENCE, KY 41042            )
                              )
AND                           )
                              )
ALISSA HIGHTCHEW              )
417 WEST NINTH STREET         )
NEWPORT, KY 41071             )
                              )
AND                           )
                              )
KAREN HIGGINBOTHAN            )
167 BARABOO                   )
LIBERTY TOWNSHIP, OH 45011    )
                              )
AND                           )
                              )
MICHAEL HILLARD               )
9337 CINCINNATI PIKE          )
CORINTH, KY 41010             )
                              )
AND                           )
                              )
DIRK HITCHCOCK                )
10425 KIMBERLY DRIVE          )
FLORENCE, KY 41042            )

                                       30
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                                     )
AND                                  )
                                     )
CELESTE HOFFMAN                      )
13 YEALEY DRIVE                      )
FLORENCE, KY 41042                   )
                                     )
AND                                  )
                                     )
LUKE HOLCOMB                         )
160 PANSY PIKE                       )
BLANCHESTER, OH 45107                )
                                     )
AND                                  )
                                     )
LORETTA HON                          )
320 HWY. 227 N.                      )
NEW LIBERTY, KY 40355                )
                                     )
AND                                  )
                                     )
CHELSEA HORTMAN                      )
3414 TURTLECREEK ROAD                )
LEBANON, OH 45036                    )
                                     )
AND                                  )
                                     )
ROBERT HOUGHTON, SR.                 )
6342 ST RT 730                       )
WILMINGTON, OH 45177                 )
                                     )
AND                                  )
                                     )
ROBERT HOUGHTON, JR.                 )
6342 ST RT 730                       )
WILMINGTON, OH 45177                 )
                                     )
AND                                  )
                                     )
RICKY HOUNCHELL                      )
1204 GREENWOOD AVENUE                )
HAMILTON, OH 45011                   )
                                     )
AND                                  )
                                     )
RITA HOUCHELL                        )

                                         31
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1204 GREENWOOD AVENUE          )
HAMILTON, OH 45011             )
                               )
AND                            )
                               )
KATHRYN HOWELL                 )
1355 CASON LAND                )
DRY RIDGE, KY 41035            )
                               )
AND                            )
                               )
GERBUS, MARY, AS               )
ADMINISTRATRIX OF THE ESTATE )
OF LOIS HUGHES                 )
986 E. CRESCENTVILLE ROAD      )
CINCINNATI, OH 45246           )
                               )
AND                            )
                               )
TAMMY HUGHES                   )
9042 SUPREME COURT             )
INDEPENDENCE, KY 41051         )
                               )
AND                            )
                               )
KEVIN HUNLEY                   )
13478 SERVICE ROAD             )
WALTON, KY 41094               )
                               )
AND                            )
                               )
CAROLYN HURSONG                )
3464 HOLLYGLEN COURT           )
CINCINNATI, OH 45251           )
                               )
AND                            )
                               )
DAVID HUSER, AS EXECUTOR       )
OF THE ESTATE OF CONNIE HUSER, )
DECEASED                       )
9148 TAG DRIVE                 )
CINCINNATI, OH 45231           )
                               )
AND                            )
                               )
GEORGE HUTCHINSON              )

                                       32
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3951 WEST 8TH STREET                 )
CINCINNATI, OH 45205                 )
                                     )
AND                                  )
                                     )
MARTHA HUTTON                        )
9520 AMBLESIDE DRIVE                 )
CINCINNATI, OH 45241                 )
                                     )
AND                                  )
                                     )
IRENE HYDE                           )
105 CRYSTAL LAKE DRIVE               )
COVINGTON, KY 41017                  )
                                     )
AND                                  )
                                     )
JEFFREY HYDE                         )
105 CRYSTAL LAKE DRIVE               )
COVINGTON, KY 41017                  )
                                     )
AND                                  )
                                     )
ELSA IERACI                          )
11815 NEUSS AVENUE                   )
CINCINNATI, OH 45246                 )
                                     )
AND                                  )
                                     )
ALYSSA JACKSON                       )
6118 LANCASHIRE TRAIL.               )
LIBERTY TOWNSHIP                     )
OH 45044                             )
                                     )
AND                                  )
                                     )
TRACY JANSON                         )
785 REED KINMAN ROAD                 )
WILLIAMSTOWN, KY 41097               )
                                     )
AND                                  )
                                     )
KIMBERLY JENKINS                     )
1404 TURNER RIDGE ROAD               )
FALMOUTH, KY 41040                   )
                                     )

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AND                                  )
                                     )
SARAH JESSEE                         )
2475 ROOSEVELT ST.                   )
CINCINNATI, OH 45231                 )
                                     )
AND                                  )
                                     )
STEPHANIE JOBE                       )
16602 SELL CIRCLE #41                )
HUNTINGTON BEACH, CA 92649           )
                                     )
AND                                  )
                                     )
AMBER JOHNSON                        )
6239 CAVALCADE DRIVE                 )
HAMILTON, OH 45011                   )
                                     )
AND                                  )
                                     )
CHELSEA JOHNSON                      )
1616 GARRARD STREET                  )
COVINGTON, KY 41014                  )
                                     )
AND                                  )
                                     )
KAREN JOHNSON                        )
116 HUNTERS COURT                    )
AMELIA, OH 45102                     )
                                     )
AND                                  )
                                     )
ROGER JOHNSON                        )
5261 RIVER ROAD                      )
FAIRFIELD, OH 45014                  )
                                     )
AND                                  )
                                     )
SARA JONAS                           )
6502 JENNIFER COURT                  )
LIBERTY TOWNSHIP, OH 45044           )
                                     )
AND                                  )
                                     )
DILLON JONES                         )
5033 RIVERWALD DR.                   )

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KINGS MILLS, OH 45034        )
                             )
AND                          )
                             )
JOAN JONES                   )
3218 WOODWARD STREET         )
ERLANGER, KY 41018           )
                             )
AND                          )
                             )
RACHEL JONES                 )
1553 PULLAN AVENUE           )
CINCINNATI, OH 45223         )
                             )
AND                          )
                             )
SYDNEY JONES                 )
601 SOUTH MAIN STREET        )
P.O. BOX 492                 )
MILAN, IN 47031              )
                             )
AND                          )
                             )
TAMMY JONES                  )
9618 DECOURSEY PIKE          )
RYLAND HEIGHTS, KY 41015     )
                             )
AND                          )
                             )
JACQUELINE JUDKINS           )
6779 YOAKUM COURT            )
LIBERTY TOWNSHIP, 45044      )
                             )
AND                          )
                             )
JUDKINS, JACQUELINE, AS      )
ADMINISTRATRIX OF THE        )
ESTATE OF PHYLLIS JUDKINS    )
11651 NORBOURNE DRIVE, #505  )
CINCINNATI, OH 45240         )
                             )
AND                          )
                             )
MCCAUGHEY, CHRISTOPHER, AS   )
ADMINISTRATOR OF             )
THE ESTATE OF SARAH JUERGENS )

                                       35
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9592 BROWER ROAD              )
NORTH BEND, OH 45052          )
                              )
AND                           )
                              )
HOLLEY, CATHY, ADMINISTRATRIX )
OF THE ESTATE OF              )
LINDA KALLMEYER-WARD          )
12000 WESTERLY DRIVE          )
CINCINNATI, OH 45231          )
                              )
AND                           )
                              )
JOSH KAUFFMAN                 )
1794 MARINERS CV              )
LOVELAND, OH 45140            )
                              )
AND                           )
                              )
KATELYN KAUFFMAN              )
572 PEDRETTI AVE.             )
CINCINNATI, OH 45238          )
                              )
AND                           )
                              )
MICHELE KEPLINGER             )
170 WIDEVIEW DRIVE            )
SPARTA, KY 41086              )
                              )
AND                           )
                              )
MARTHA KIBLER                 )
9078 CANAL WAY                )
WEST CHESTER, OH 45069        )
                              )
AND                           )
                              )
DEBORAH KIDD                  )
1625 ASMAN AVENUE             )
CINCINNATI, OH 45229          )
                              )
AND                           )
                              )
SHERRY KIDD                   )
12 CHERRYWOOD LANE            )
ALEXANDRIA, KY 41001          )

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                             )
AND                          )
                             )
VIVIAN KIEFER                )
742 MILLSTREAM DR.           )
TAYLOR MILL, KY 41015        )
                             )
AND                          )
                             )
CHARLOTTE KING               )
1358 AMMERMAN LANE           )
FALMOUTH, KY 41040           )
                             )
AND                          )
                             )
MAGGIE KNAUER, AS EXECUTOR   )
OF THE ESTATE OF             )
CHRISTOPHER KNAUER, DECEASED )
446 SHANNON CIRCLE           )
BATAVIA, OH 45103            )
                             )
AND                          )
                             )
MAGGIE KNAUER                )
446 SHANNON CIRCLE           )
BATAVIA, OH 45103            )
                             )
AND                          )
                             )
AMANDA KOCH                  )
5133 MOUNT ALVERNO           )
CINCINNATI, OH 45238         )
                             )
AND                          )
                             )
ROSE KOEHLER                 )
7060 MAUD HUGHES ROAD        )
HAMILTON, OH 45011           )
                             )
AND                          )
                             )
SHANNON KOEHLER              )
135 MONTCLAIR STREET         )
LUDLOW, KY 41016             )
                             )
AND                          )

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                                     )
MIKE KOELBLIN                        )
1221 MILLVILLE AVENUE                )
HAMILTON, OH 45013                   )
                                     )
AND                                  )
                                     )
VALARIE KOPP                         )
14216 DECOURSEY PIKE                 )
MORNING VIEW, KY 41063               )
                                     )
AND                                  )
                                     )
LAURA KATHLEEN                       )
KRANBUHL-MCKEE                       )
105 NORTH THIRD STREET               )
LOVELAND, OH 45140                   )
                                     )
AND                                  )
                                     )
LARRY KRECH                          )
725 COACHWAY COURT                   )
TAYLOR MILL, KY 41015                )
                                     )
AND                                  )
                                     )
BRANDON LACINAK                      )
890 E. COLUMBIA AVENUE               )
CINCINNATI, OH 45215                 )
                                     )
AND                                  )
                                     )
NATASHA LAINHART                     )
58 HIGH STREET                       )
WALTON, KY 41094                     )
                                     )
AND                                  )
                                     )
VICTORIA LANDRUM                     )
10357 BANKLICK RD.                   )
WALTON, KY 41094                     )
                                     )
AND                                  )
                                     )
N.L., (A MINOR)                      )
BY AND THROUGH HIS PARENTS           )

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AND NEXT FRIENDS                     )
LYNDON AND MAURINE LANGFORD          )
856 HAMLIN DRIVE                     )
MAINEVILLE, OH 45039                 )
                                     )
AND                                  )
                                     )
TOM LANTRY                           )
102 PROMONTORY DR., APT. D           )
COVINGTON, KY 41015                  )
                                     )
AND                                  )
                                     )
PATRICIA LEGENDRE                    )
1010 MORADO DRIVE                    )
CINCINNATI, OH 45238                 )
                                     )
AND                                  )
                                     )
KAREN LEGER                          )
1812 MOREY AVENUE                    )
HAMILTON, OH 45011                   )
                                     )
AND                                  )
                                     )
BETH LEISRING                        )
5356 TAYLOR MILL ROAD                )
TAYLOR MILL, KY 41015                )
                                     )
AND                                  )
                                     )
SANDRA LEMMEL                        )
6671 TRADITION TRAIL                 )
MASON, OH 45040                      )
                                     )
AND                                  )
                                     )
KATIE LEHMKUHL                       )
9504 MAIN ST.                        )
CINCINNATI, OH 45242                 )
                                     )
AND                                  )
                                     )
AILENE LEVAN                         )
675 EUCLID STREET                    )
CRESCENT SPRINGS, KY 410171          )

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                                     )
AND                                  )
                                     )
HILLARY LEVANDOFSKY                  )
1645 WEST MAIN #2                    )
WILMINGTON, OH 45177                 )
                                     )
AND                                  )
                                     )
ADRIAN LILLY                         )
3474 INEX AVENUE                     )
BETHEL, OH 45106                     )
                                     )
AND                                  )
                                     )
DEREK LIST                           )
3617 TAMBER RIDGE DRIVE              )
COVINGTON, KY 41015                  )
                                     )
AND                                  )
                                     )
LYNNE LIST                           )
3617 TAMBER RIDGE DRIVE              )
COVINGTON, KY 41015                  )
                                     )
AND                                  )
                                     )
TAMMIE LITTLE                        )
290 PRARIE AVENUE, APT. 208          )
WILMINGTON, OH 45177                 )
                                     )
AND                                  )
                                     )
TAMALA LOVETTE                       )
485 DEWDROP CIRCLE, UNIT D           )
CINCINNATI, OHIO 45240               )
                                     )
AND                                  )
                                     )
KIMBERLY LUSE                        )
4549 AMELIA CIR.                     )
HAHIRA, GA 31632                     )
                                     )
AND                                  )
                                     )
RHONDA MAINS                         )

                                         40
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408 HAWTHORNE STREET                 )
COVINGTON, KY 41014                  )
                                     )
AND                                  )
                                     )
SHIRLEY MAINS                        )
3526 SHADYSIDE DRIVE                 )
ERLANGER, KY 41018                   )
                                     )
AND                                  )
                                     )
VICKY MAINS                          )
97 ABBEYWOOD DRIVE APT. 307          )
FALMOUTH, KY 41040                   )
                                     )
AND                                  )
                                     )
TAMMY MANN                           )
3487 CLOVER DRIVE                    )
COVINGTON, KY 41015                  )
                                     )
AND                                  )
                                     )
KENNETH MAHLENKAMP                   )
113 GRANT ST.                        )
FT. THOMAS, KY 41075                 )
                                     )
AND                                  )
                                     )
JACK MARCHESCHI                      )
1360 PENNSBURY DRIVE                 )
CINCINNATI, OH 45238                 )
                                     )
AND                                  )
                                     )
SHARON HOWARD, AS                    )
ADMINISTRATOR OF THE ESTATE          )
OF PAUL MARKSBERRY                   )
1211 GARRARD STREET                  )
COVINGTON, KY 41011                  )
                                     )
AND                                  )
                                     )
TIMOTHY MARSHALL                     )
60 JONES ROAD                        )
CORINTH, KY 41010                    )

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                                     )
AND                                  )
                                     )
JULIE MARTIN                         )
3959 ASHMONT DRIVE                   )
ERLANGER, KY 41018                   )
                                     )
AND                                  )
                                     )
MARTIN, KELLY, ON BEHALF             )
OF HER MINOR DAUGHTER                )
MACY ACORD                           )
2488 ROZELLE CREEK RD.               )
CHILLICOTHE, OH 45601                )
                                     )
AND                                  )
                                     )
MARSHA MARTIN                        )
2532 DALE CT                         )
FT. MITCHELL, KY 41017               )
                                     )
AND                                  )
                                     )
STACY JOHN MARTIN                    )
1875 HWY 127                         )
WARSAW, KY 41095                     )
                                     )
AND                                  )
                                     )
ROBERT MASTERS                       )
5955 FURLONG WAY                     )
HAMILTON, OH 45011                   )
                                     )
AND                                  )
                                     )
TRACI MATHEWS                        )
694 BLUEBIRD LANE                    )
CINCINNATI, OHIO 45244               )
                                     )
AND                                  )
                                     )
BRANDON MATHIS                       )
5361 BAY VIEW DRIVE, #54             )
TAYLOR MILL, KY 41015                )
                                     )
AND                                  )

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                                     )
DONALD MAUNTEL,                      )
INDIVIDUALLY, AND ON BEHALF          )
OF HIS MINOR DAUGHTER,               )
MARY MAUNTEL                         )
1837 ASHBROOK DR                     )
CINCINNATI, OH 45238                 )
                                     )
AND                                  )
                                     )
KIMBERLY MAYER                       )
3535 E TAYLOR SCHOOL ROAD            )
HAMILTON, OH 45011                   )
                                     )
AND                                  )
                                     )
DEREK MAYFIELD                       )
455 SQUIRESVILLE RD.                 )
OWENTON, KY 40359                    )
                                     )
AND                                  )
                                     )
JAMES MCCAIN                         )
615 SHULTZ DRIVE                     )
HAMILTON, OH 45013                   )
                                     )
AND                                  )
                                     )
JENNA MCCALL                         )
4010 HAMMOND BLVD                    )
HAMILTON, OH 45015                   )
                                     )
AND                                  )
                                     )
HEATHER MCCANN                       )
99 A STREET                          )
WILMINGTON, OH 45177                 )
                                     )
AND                                  )
                                     )
HIRAM MCCAULEY                       )
4256 ASPEN DRIVE                     )
INDEPENDENCE, KY 41051               )
                                     )
AND                                  )
                                     )

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KYRA MCCLENDON                )
2224 OAKLAND AVENUE           )
COVINGTON, KY 41014           )
                              )
AND                           )
                              )
FLETCHER, STACY, AS EXECUTRIX )
OF THE ESTATE OF              )
JEFFREY MCCLURE               )
1860 HEATHEN RIDGE ROAD       )
CRITTENDEN, KY 41030          )
                              )
AND                           )
                              )
KEVIN MCDONALD                )
1073 CLOUGH PIKE              )
CINCINNATI, OH 45245          )
                              )
AND                           )
                              )
MARCELLA MCDONALD             )
1073 CLOUGH PIKE              )
CINCINNATI, OH 45245          )
                              )
AND                           )
                              )
GRANT MCKENNEY                )
2792 SHAMU DRIVE              )
HEBRON, KY 41048              )
                              )
AND                           )
                              )
CANDI MCKINNEY                )
4258 ASPEN DRIVE APT. 2       )
INDEPENDENCE, KY 41051        )
                              )
AND                           )
                              )
TYLER MCKNIGHT                )
816 FRANKLIN STREET           )
HAMILTON, OH 45013            )
                              )
AND                           )
                              )
TERESA MCMILLEN               )
10616 CINDERELLA DRIVE        )

                                       44
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MONTGOMERY, OH 45242                 )
                                     )
AND                                  )
                                     )
MARK MCMURREN                        )
89 EAST MEADOW DRIVE                 )
BATAVIA, OH 45103                    )
                                     )
AND                                  )
                                     )
KAMERON MCNEAL                       )
110141 WEST ROAD #3                  )
HARRISON, OH 45013                   )
                                     )
AND                                  )
                                     )
KERRY MCNEAL                         )
4114 RACE LANE ROAD                  )
OKEANA, OH 45033                     )
                                     )
AND                                  )
                                     )
TONIA MCQUEARY                       )
6342 LAKE RIDGE COURT                )
LOVELAND, OH 45140                   )
                                     )
AND                                  )
                                     )
TIFFANY MEADOWS                      )
1045 GOODMAN AVENUE                  )
HAMILTON, OH 45013                   )
                                     )
AND                                  )
                                     )
DAWN MERLAND                         )
17 ORCHARD AVE.                      )
CINCINNATI, OH 45215                 )
                                     )
AND                                  )
                                     )
TIFFANY MESSERSCHMIDT                )
15131 PINE ROAD                      )
BROOKVILLE, IN 47012                 )
                                     )
AND                                  )
                                     )

                                         45
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RANDALL METCALF                      )
3345 ROBERT E. LEE DRIVE             )
ERLANGER, KY 41018                   )
                                     )
AND                                  )
                                     )
DIANE MEYER                          )
5279 PONDEROSA DRIVE                 )
CINCINNATI, OH 45239                 )
                                     )
AND                                  )
                                     )
TOM MEYERS                           )
9281 INDIAN TRACE RD                 )
ALEXANDRIA, KY 41001                 )
                                     )
AND                                  )
                                     )
LYNDSEY MIDDENDORF                   )
3291 RIDGETOP WAY                    )
EDGEWOOD, KY 41017                   )
                                     )
AND                                  )
                                     )
KAREN MILLER                         )
993 SOUTHRIDGE AVENUE                )
WILMINGTON, OH 45177                 )
                                     )
AND                                  )
                                     )
RYAN MILLER                          )
10949 THORNVIEW DRIVE                )
CINCINNATI, OH 45241                 )
                                     )
AND                                  )
                                     )
SAMANTHA MINK                        )
10007 BENT TREE CIRCLE               )
UNION, KY 41091                      )
                                     )
AND                                  )
                                     )
VERA MOFFITT                         )
771 COLBERT CIRCLE                   )
CINCINNATI, OH 45240                 )
                                     )

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AND                                  )
                                     )
JUNIOR MONROE                        )
1011 MONROE ROAD                     )
PEEBLES, OH 45660                    )
                                     )
AND                                  )
                                     )
BILLIE JANE MOORE                    )
2525 LEMON NORTHCUTT ROAD            )
DRY RIDGE, KY 41035                  )
                                     )
AND                                  )
                                     )
DEBBIE MOORE                         )
8174 SMITH ROAD                      )
BROOKEVILLE, IN 47012                )
                                     )
AND                                  )
                                     )
DONALD MOORE                         )
116 AARONSWAY                        )
DRY RIDGE, KY 41035                  )
                                     )
AND                                  )
                                     )
ROBERT MOORE                         )
274 PRAIRIE AVENUE                   )
WILMINGTON, OH 45177                 )
                                     )
AND                                  )
                                     )
STEPHANIE MOORE                      )
80 CLEARVIEW LANE                    )
FRANKLIN, OH 45005                   )
                                     )
AND                                  )
                                     )
TIM MOORE                            )
425 SILVERLAKE AVE.                  )
ERLANGER, KY 41018                   )
                                     )
AND                                  )
                                     )
WILLIAM MOORE                        )
11377 MOUNT VERNON DRIVE             )

                                         47
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DUNCANVILLE, AL 35456                )
                                     )
AND                                  )
                                     )
ROBERT MOUNCE                        )
2396 PARAGON MILL DRIVE              )
BURLINGTON, KY 41005                 )
                                     )
AND                                  )
                                     )
REBA MORGAN                          )
2006 DIXON ROAD                      )
SADIEVILLE, KY 40370                 )
                                     )
AND                                  )
                                     )
SARRA MUELLER                        )
3966 WASHINGTON ROAD                 )
CHEVIOT, OH 45211                    )
                                     )
AND                                  )
                                     )
STEPHANIE MUELLER                    )
226 SHORT MAY ST.                    )
ELSMERE, KY 41018                    )
                                     )
AND                                  )
                                     )
JENNIFER MYERS                       )
301 SOUTH 1ST STREET                 )
TRENTON, OHIO 45067                  )
                                     )
AND                                  )
                                     )
JOETTA NAFE                          )
741 RIDGEWOOD AVE.                   )
HAMILTON, OH 45013                   )
                                     )
AND                                  )
                                     )
TONYA NEAL                           )
5350 ASTER PARK DRIVE                )
HAMILTON, OH 45011                   )
                                     )
AND                                  )
                                     )

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CHARLES NELSON                       )
1103 THIRD STREET                    )
DAYTON, KY 41074                     )
                                     )
AND                                  )
                                     )
GARY NEU                             )
6831 PARKLAKE DR.                    )
MASON, OH 45040                      )
                                     )
AND                                  )
                                     )
MARJORIE NEWMAN                      )
355 SECOND STREET                    )
MORROW, OH 45152                     )
                                     )
AND                                  )
                                     )
TERESA NICHOLS                       )
1291 DEBLIN DRIVE                    )
MILFORD, OH 45150                    )
                                     )
AND                                  )
                                     )
RAHMANN NISBETT                      )
51 BUTTERMILK PIKE                   )
LAKESIDE PARK, KY 41017              )
                                     )
AND                                  )
                                     )
MICHELLE NOBLE                       )
1876 MT. ZION ROAD                   )
UNION, KENTUCKY 41091                )
                                     )
AND                                  )
                                     )
GAIL NORDEMAN                        )
15031 PUNTA RASSA RD                 )
#503                                 )
FT. MYERS, FL 33908                  )
                                     )
AND                                  )
                                     )
RUVIMBO NYEMBA                       )
4131 ST MARTIN PLACE                 )
CINCINNATI, OH 45211                 )

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                              )
AND                           )
                              )
WENDY OBERLANDER              )
6910 EVANSTON AVE.            )
MUSKEGON, MI 49442            )
                              )
AND                           )
                              )
MICHAEL ODULANA               )
20203 EMERSON                 )
CINCINNATI, OH 45239          )
                              )
AND                           )
                              )
TIMOTHY OSBORN                )
57 E MAIN STREET, UNIT B      )
CLARKSVILLE, OH 45113         )
                              )
AND                           )
                              )
DANNIE OWENS                  )
1090 LOVELAND-MADEIRA ROAD, #10
LOVELAND, OH 45140            )
                              )
AND                           )
                              )
HALEY PAYNE                   )
1680 BIG THREE MILE ROAD      )
ABERDEEN, OH 45101            )
                              )
AND                           )
                              )
JEFF PEDDICORD                )
3657 MILLS ROAD               )
INDEPENDENCE, KY 41051        )
                              )
AND                           )
                              )
DUANE PELFREY                 )
950 SHEFFIELD DR.             )
MASON, OH 45040               )
                              )
AND                           )
                              )
ANGELA PENNINGTON             )

                                       50
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1785 STATE ROUTE 28, #50             )
GOSHEN, OH 45122                     )
                                     )
AND                                  )
                                     )
PFETSCH, NANCY, AS EXECUTRIX         )
OF THE ESTATE OF                     )
KENNETH PFETSCH                      )
4832 BRIDGE LANE, APT. 1             )
MASON, OH 45040                      )
                                     )
AND                                  )
                                     )
CLARENCE PHILLIPS                    )
28 HEARTHSTONE COURT                 )
FLORENCE, KY 41042                   )
                                     )
AND                                  )
                                     )
HEATHER PICKETT                      )
207 PRUYN STREET                     )
AURORA, IN 47001                     )
                                     )
AND                                  )
                                     )
CRYSTAL PIERCE                       )
3543 EPLEY ROAD, #3                  )
CINCINNATI, OH 45247                 )
                                     )
AND                                  )
                                     )
JEFFREY POFF                         )
181 RICHARDSON PL.                   )
CINCINNATI, OH 45233                 )
                                     )
AND                                  )
                                     )
SHEILA POGUE-KRABACHER               )
1287 WEST MAIN STREET                )
WILMINGTON, OH 45177                 )
                                     )
AND                                  )
                                     )
JEFF POTTS                           )
8971 ELDORA DRIVE                    )
CINCINNATI, OH 45236                 )

                                         51
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                                  )
AND                               )
                                  )
ANTOINE POWELL                    )
650 NORTH PECOS ROAD, APT. # 1044 )
LAS VEGAS, NV 89115               )
                                  )
AND                               )
                                  )
BRYAN POWERS                      )
335 SOUTH FORK RD                 )
VERONA, KY 41092                  )
                                  )
AND                               )
                                  )
KATHERINE PRATER                  )
11497 BASIL RD NW                 )
BALTIMORE, OH 43105               )
                                  )
AND                               )
                                  )
SCHUSTER, HEATHER, AS             )
EXECUTRIX OF THE ESTATE OF        )
LAWRENCE PRIDEMORE                )
1075 ARBOR SPRINGS DR.            )
HAMILTON, OH 45013                )
                                  )
AND                               )
                                  )
TOM PRITCHARD, AS EXECUTOR        )
OF THE ESTATE OF                  )
SHARON PRITCHARD, DECEASED )
8372 JUNIPER LANE                 )
FLORENCE, KY 41042                )
                                  )
AND                               )
                                  )
SHERRI PUCKETT-MORRISSETTE        )
164 TAYLOR AVENUE                 )
MARYSVILLE, OHIO 43040            )
                                  )
AND                               )
                                  )
CAROL PUMMELL                     )
129 MAYS DRIVE                    )
SABINA, OH 45169                  )

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                                     )
AND                                  )
                                     )
JAMES PUMPELLY                       )
1161 MILLER AVENUE                   )
MAYSVILLE, KY 41056                  )
                                     )
AND                                  )
                                     )
MISTY EMERSON AS                     )
ADMINISTRATOR                        )
OF THE ESTATE OF                     )
MARCIA QUINN, DECEASED               )
817 SANDERS DRIVE                    )
HAMILTON, OH 45013                   )
                                     )
AND                                  )
                                     )
SANDRA RADEKE                        )
6810 JERSEY AVENUE                   )
SAILOR PARK, OH 45233                )
                                     )
AND                                  )
                                     )
MARGARET RADENHEIMER                 )
204 WEST HARRISON AVENUE             )
WEST HARRISON, IN 47060              )
                                     )
AND                                  )
                                     )
MARY RAVENSCRAFT                     )
285 SHERWOOD COURT                   )
BATAVIA, OH 45103                    )
                                     )
AND                                  )
                                     )
TODD RAY                             )
13118 ALEXANDRIA PIKE                )
BUTLER, KY 41006                     )
                                     )
AND                                  )
                                     )
SAMANTHA REDROW                      )
6637 SOUTH COVE DRIVE                )
CINCINNATI, OH 45233                 )
                                     )

                                         53
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AND                                  )
                                     )
DANIELLE REED                        )
453 MILLVILLE ROAD                   )
HAMILTON, OH 45013                   )
                                     )
AND                                  )
                                     )
MARK REED                            )
103 CASTANEA DRIVE                   )
MASON, OH 45040                      )
                                     )
AND                                  )
                                     )
JEAN FENNER, EXECUTOR OF             )
THE ESTATE OF JANE REEDER            )
130 MADALYN LOFTIN DRIVE             )
BLANCHESTER, OH 45107                )
                                     )
AND                                  )
                                     )
VALERIE REEVES                       )
4915 MARATHON EDENTON ROAD           )
WILLIAMSBURG, OH 45176               )
                                     )
AND                                  )
                                     )
HOLLY REIFENBERGER                   )
6 POTOMAC COURT                      )
LOVELAND, OHIO 45140                 )
                                     )
AND                                  )
                                     )
JEFF REMLEY                          )
6819 EAST PLUM STREET                )
CINCINNATI, OH 45244                 )
                                     )
AND                                  )
                                     )
DERRILL REYNOLDS                     )
218 OAK STREET, APT. #1              )
LUDLOW, KY 41016                     )
                                     )
AND                                  )
                                     )
HARRY REYNOLDS                       )

                                         54
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601 MAPLE AVENUE                     )
CINCINNATI, OH 45229                 )
                                     )
AND                                  )
                                     )
KENT REYNOLDS                        )
853 WESLEY DRIVE                     )
VILLA HILLS, KY 41017                )
                                     )
AND                                  )
                                     )
LISA REYNOLDS                        )
951 ALLY WAY                         )
INDEPENDENCE, KY 41051               )
                                     )
AND                                  )
                                     )
JOHN RICHARDSON                      )
396 HAMPSHIRE                        )
HAMILTON, OH 45011                   )
                                     )
AND                                  )
                                     )
JORDAN RIBARIU                       )
8045 REMINGTON ROAD                  )
CINCINNATI, OH 45242                 )
                                     )
AND                                  )
                                     )
JASON RILEY                          )
884 GORDON SMITH BLVD., #9           )
HAMILTON, OH 45103                   )
                                     )
AND                                  )
                                     )
GORDON RISTER, AS                    )
ADMINISTRATOR OF THE ESTATE          )
OF DONNA RISTER                      )
809 MARK AVENUE                      )
HAMILTON, OH 45013                   )
                                     )
AND                                  )
                                     )
DEBORAH ROARK                        )
1176 DENNIS LANE 32                  )
HAMILTON OH, 45013                   )

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                                     )
AND                                  )
                                     )
KELLY ROBINSON                       )
3060 HIGHWAY 465                     )
SPARTA, KY 41086                     )
                                     )
AND                                  )
                                     )
THERESA ROBBINSON-WOODS              )
750 GRAND AVENUE #411                )
CINCINNATI, OH 45205                 )
                                     )
AND                                  )
                                     )
DEBBIE RODRIGUEZ                     )
834 KY HIGHWAY 19                    )
CYNTHIANA, KY 41031                  )
                                     )
AND                                  )
                                     )
DAVID ROHLING                        )
13207 LAZZARO COURT                  )
ESTERO FL 33928                      )
                                     )
AND                                  )
                                     )
JASON ROMER                          )
3438 MAPLE TREE LANE                 )
ERLANGER, KY 41018                   )
                                     )
AND                                  )
                                     )
DOROTHY ROSE                         )
313 KENEC DRIVE                      )
MIDDLETOWN, OH 45042                 )
                                     )
AND                                  )
                                     )
WORLEY, DEBORAH, AS                  )
EXECUTRIX OF THE ESTATE OF           )
FAY ROSEBERY                         )
22 SAGEBRUSH LANE                    )
ERLANGER, KY 41018                   )
                                     )
AND                                  )

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                                     )
CAROL ROSS                           )
1012 UPLAND HEIGHTS                  )
LAWRENCEBURG, IN 47025               )
                                     )
AND                                  )
                                     )
SANDRA ROUNDTREE                     )
2037 FRANKLIN STREET, #A             )
COVINGTON, KY 41014                  )
                                     )
AND                                  )
                                     )
RONALD ROWLEY                        )
274 PRAIRIE AVENUE, APT. 106         )
WILMINGTON, OH 45177                 )
                                     )
AND                                  )
                                     )
JOSH ROY                             )
N280 EASTOWNE LANE                   )
APPLETON, WI 54915                   )
                                     )
AND                                  )
                                     )
CARMEN, STEPHEN, AS                  )
ADMINISTRATOR OF THE                 )
ESTATE OF KATHRYNN RUEVE             )
4124 VINEDALE AVENUE                 )
CINCINNATI, OH 45205                 )
                                     )
AND                                  )
                                     )
ROBERT RUNTZ                         )
1 MAIN STREET, APT. F4               )
P.O. BOX 625                         )
ADDYSTON, OH 45001                   )
                                     )
AND                                  )
                                     )
RUTTER, CHRISTINA AND JOE,           )
INDIVIDUALLY AND ON                  )
BEHALF OF MINOR SON,                 )
CARSON RUTTER                        )
8466 BRANDONHILL COURT               )
CINCINNATI, OH 45244                 )

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                                     )
AND                                  )
                                     )
MIKE SAND                            )
3270 RECTOR ROAD                     )
MORNINGVIEW, KY 41063                )
                                     )
AND                                  )
                                     )
MICHAEL SANDER                       )
2513 AVON DRIVE                      )
FT MITCHELL, KY 41017                )
                                     )
AND                                  )
                                     )
CHRIS SCHEPER                        )
1859 PRINCESS CT                     )
HEBRON, KY 41048                     )
                                     )
AND                                  )
                                     )
ROBIN SCHILLER                       )
524 PATTERSON COURT                  )
LEBANON, OH 45036                    )
                                     )
AND                                  )
                                     )
JOSEPH SCHIMMEL                      )
185 KNAPP DRIVE                      )
HAMILTON, OH 45013                   )
                                     )
AND                                  )
                                     )
KIM SCHMIT                           )
406 PRINCETON DRIVE                  )
TRENTON, OH 45067                    )
                                     )
AND                                  )
                                     )
KEVIN SCHMIT                         )
5490 CANNAS DRIVE                    )
CINCINNATI, OH 45238                 )
                                     )
AND                                  )
                                     )
PATRICK SCHMIT                       )

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2778 TOLBERT RD.                     )
HAMILTON, OH 45011                   )
                                     )
AND                                  )
                                     )
BRANDON SCHOBORG                     )
1079 AUDUS COURT                     )
INDEPENDENCE, KY 41051               )
                                     )
AND                                  )
                                     )
SUSAN SCHOCK                         )
4351 MOUNT ALVERNO ROAD              )
CINCINNATI, OH 45238                 )
                                     )
AND                                  )
                                     )
PAUL SCHOLZ                          )
210 MARTIN AVENUE                    )
TRENTON, OH 45067                    )
                                     )
AND                                  )
                                     )
ANDREW SCHULTZ                       )
25809 EASY WAY DRIVE                 )
GUILFORD, IN 47022                   )
                                     )
AND                                  )
                                     )
TIMOTHY SCHULZE                      )
6150 BURLINGTON PIKE                 )
BURLINGTON, KY 41005                 )
                                     )
AND                                  )
                                     )
RONALD SCHUSTER                      )
903 SHAYLER ROAD                     )
CINCINNATI, OH 45245                 )
                                     )
AND                                  )
                                     )
DELORES SCOTT                        )
124 PAMELA DRIVE #105                )
MORROW, OH 45152                     )
                                     )
AND                                  )

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                                     )
RHONDA SCOTT                         )
421 OAK GROVE ROAD                   )
MARTINSVILLE, OH 45146               )
                                     )
AND                                  )
                                     )
ALI SCULLY                           )
6389 TIMBERHILL COURT                )
CINCINNATI, OH 45233                 )
                                     )
AND                                  )
                                     )
RUTHIE SEARS                         )
3907 MACK ROAD, APT. #57             )
FAIRFIELD, OH 45014                  )
                                     )
AND                                  )
                                     )
SARA SELM                            )
10769 US HWY 42, APT A               )
UNION, KY 41094                      )
                                     )
AND                                  )
                                     )
DANA SETTERS                         )
5372 GABBARD DRIVE                   )
TRENTON, OH 45067                    )
                                     )
AND                                  )
                                     )
GLENNA SHAFER                        )
3151 RIVER ROAD                      )
CINCINNATI, OH 45204                 )
                                     )
AND                                  )
                                     )
ASIA SHANNON                         )
2393 BRICK HOUSE LANE                )
FAIRFIELD, OH 45014                  )
                                     )
AND                                  )
                                     )
BRENDA SHELL                         )
6058 JERRY LEE DRIVE                 )
MILFORD, OH 45150                    )

                                         60
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                                     )
AND                                  )
                                     )
DAVID SHEMPERT                       )
27 CHAMBERS ROAD                     )
WALTON, KY 41094                     )
                                     )
AND                                  )
                                     )
CHARLANN SHEPHERD                    )
725 BALLARD TERRACE                  )
PO BOX 476                           )
BARLOW, KENTUCKY 42024               )
                                     )
AND                                  )
                                     )
PATRICIA SHOTT, INDIVIDUALLY,        )
AND AS THE EXECUTRIX OF THE          )
ESTATE OF GREGORY S. SHOTT           )
25 CLARK AVENUE                      )
WYOMING, OH 45215                    )
                                     )
AND                                  )
                                     )
SHANDON SIMMONS                      )
16 CHASE DRIVE                       )
CENTERVILLE, OH 45458                )
                                     )
AND                                  )
                                     )
KAREN SISSON                         )
2219 DREX AVE.                       )
CINCINNATI, OH 45212                 )
                                     )
AND                                  )
                                     )
MICHELLE SIZEMORE                    )
4165 MT. CARMEL-TOBASCO RD.          )
#8                                   )
CINCINNATI, OH 45255                 )
                                     )
AND                                  )
                                     )
HEATHER SLAYBACK                     )
203 SOUTH BOWLES STREET              )
WEST HARRISON, IN 47060              )

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                                     )
AND                                  )
                                     )
WARREN, HALEY, AS                    )
ADMINISTRATOR OF THE ESTATE          )
OF CRYSTAL SLONE                     )
10519 MARSHALL ROAD                  )
LATONIA, KY 41015                    )
                                     )
AND                                  )
                                     )
DONNA SMALLWOOD                      )
12070 REGENCY RUN COURT, #3          )
CINCINNATI, OH 45240                 )
                                     )
AND                                  )
                                     )
DAVID SMITH                          )
1445 KAHN AVE.                       )
HAMILTON, OH 45011                   )
                                     )
AND                                  )
                                     )
DONALD SMITH                         )
2537 WARREN STREET                   )
COVINGTON, KY 41014                  )
                                     )
AND                                  )
                                     )
STACI SMITH                          )
8279 SOUTH PORT DR.                  )
WEST CHESTER, OH 45069               )
                                     )
AND                                  )
                                     )
ORRIS SMOOTE                         )
601 MAPLE AVENUE, APT. 903           )
CINCINNATI, OH 45229                 )
                                     )
AND                                  )
                                     )
DAVID SNIDER                         )
590 ROBERTSON RD.                    )
FELICITY, OH 45120                   )
                                     )
AND                                  )

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                               )
SHERRY SPANGENBERG             )
4493 DEVON COURT               )
MASON, OH 45040                )
                               )
AND                            )
                               )
CRYSTAL GARRISON,              )
ADMINISTRATOR OF THE           )
ESTATE OF BILLY SPIVY          )
310 RICE DRIVE, APT. 18        )
WEST UNION, OH 45693           )
                               )
AND                            )
                               )
ZACHARY STACY                  )
1535 OLD FERRELLS CREEK RD.    )
BELCHER, KY 41513              )
                               )
AND                            )
                               )
EDDIE STALLINGS                )
4136 GRASMERE RUN              )
MASON, OH 45040                )
                               )
AND                            )
                               )
EARL STAMPS, JR.               )
10768 SHPLEY CT.               )
CINCINNATI, OH 45231           )
                               )
AND                            )
                               )
RICHARD STANFIELD              )
4258 ASPEN DRIVE, APT. 2       )
INDEPENDENCE, KY 41051         )
                               )
AND                            )
                               )
FISHER, DAVID, AS ADMINISTRATOR)
OF THE ESTATE OF               )
MICHELLE STEPHENS              )
3719 JACQUELINE DRIVE          )
ERLANGER, KY 41018             )
                               )
AND                            )

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                                     )
PATRICK STEPHENSON                   )
240 WAGEL ROAD                       )
BROOKSVILLE, KY 41004                )
                                     )
AND                                  )
                                     )
TEMPIE STEPHENSON                    )
310 RICE DR., APT. 9                 )
WEST UNION, OH 45693                 )
                                     )
AND                                  )
                                     )
DARLENE STERLING                     )
558 GARNER CT                        )
COVINGTON, KY 41015                  )
                                     )
AND                                  )
                                     )
BERT STIDHAM                         )
923 DON VICTOR                       )
INDEPENDENCE, KY 41051               )
                                     )
AND                                  )
                                     )
DEON STIGALL, JR.                    )
2917 PRIZE STREET                    )
CINCINNATI, OH 45204                 )
                                     )
AND                                  )
                                     )
SIERRA STRATMAN                      )
1340 TAMARACK CIRCLE, APT. L         )
FLORENCE, KY 41042                   )
                                     )
AND                                  )
                                     )
DEBORAH STURDIVANT                   )
PO BOX 255                           )
DRY RIDGE, KY 41035                  )
                                     )
AND                                  )
                                     )
RYAN TACKETT                         )
6656 AUTUMN GLEN DRIVE               )
WEST CHESTER, OH 45069               )

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                                     )
AND                                  )
                                     )
RYAN TANNER                          )
401 KUNTZ DRIVE                      )
LEBANON, OH 45036                    )
                                     )
AND                                  )
                                     )
ALEX TAYLOR                          )
1588 BEECHGROVE DRIVE                )
CINCINNATI, OH 45233                 )
                                     )
AND                                  )
                                     )
KAREN TAYLOR                         )
3217 17TH STREET SW                  )
LEHIGH ACRES, FL 33976               )
                                     )
AND                                  )
                                     )
KATHLEEN TESLCHER                    )
5719 HARVEY CIRCLE                   )
CINCINNATI, OH 45233                 )
                                     )
AND                                  )
                                     )
BEN THAELER                          )
8387 MAY AVENUE                      )
MIDDLETOWN, OH 45042                 )
                                     )
AND                                  )
                                     )
BRITTANY THEILMAN                    )
5767 MT. VERNON DR.                  )
MILFORD, OH 45150                    )
                                     )
AND                                  )
                                     )
BRIAN THIEN                          )
7750 OTTAWA LANE, #158               )
WEST CHESTER OH 45069                )
                                     )
AND                                  )
                                     )
EDWARD THIESSEN                      )

                                         65
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1602 SUMMIT HILLS DRIVE              )
CINCINNATI, OH 45255                 )
                                     )
AND                                  )
                                     )
ADRIENNE THOMAS                      )
7131 ARLINGTON ROAD                  )
BETHESDA, MD 20814                   )
                                     )
AND                                  )
                                     )
CLARA TUBBS-HILLS                    )
5491 BEECHMONT AVENUE #102           )
CINCINNATI, OH 45230                 )
                                     )
AND                                  )
                                     )
CONNIE UNDERWOOD                     )
135 MONTCLAIR STREET                 )
 LUDLOW, KY 41016                    )
                                     )
AND                                  )
                                     )
KIM UNDERWOOD                        )
1340 PARKWAY AVENUE                  )
COVINGTON, KY 41016                  )
                                     )
AND                                  )
                                     )
JACKLEN UPCHURCH                     )
4264 CIDER MILL                      )
CINCINNATI, OH 45245                 )
                                     )
AND                                  )
                                     )
JORDAN VANCE                         )
715 LITTLE HARTS CREEK ROAD          )
HARTS, WEST VIRGINIA 25524           )
                                     )
AND                                  )
                                     )
BROOKE VANDERVORT                    )
6387 FARMERS RD.                     )
MARTINSVILLE, OH 45146               )
                                     )
AND                                  )

                                         66
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                                     )
ASHLEY WALKER                        )
6 ARBOR CIR., #617                   )
CINCINNATI, OH 45255                 )
                                     )
AND                                  )
                                     )
SHANNON WALLACE                      )
9028 SYMMESRIDGE LANE                )
LOVELAND, OH 45140                   )
                                     )
AND                                  )
                                     )
VICKI WALLACE                        )
9028 SYMMESRIDGE LANE                )
LOVELAND, OH 45140                   )
                                     )
AND                                  )
                                     )
KATHERINE WALLS                      )
3906 OLD SAVANNAH LANE               )
CINCINNATI, OH 45245                 )
                                     )
AND                                  )
                                     )
LINDSEY WALSH                        )
16620 SE 70TH STREET                 )
BELLEVUE, WA 98006                   )
                                     )
AND                                  )
                                     )
TRACEY WALSH                         )
4246 WEST ARM DRIVE                  )
SPRING PARK, MN 55384                )
                                     )
AND                                  )
                                     )
MICHELLE WALTERS                     )
915 HIGHKNOLL COURT, #93             )
VILLA HILLS, KY 41017                )
                                     )
AND                                  )
                                     )
HELEN WARD                           )
7902 CONSTITUTION DRIVE              )
CINCINNATI, OH 45215                 )

                                         67
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                                     )
AND                                  )
                                     )
MICHAEL WATKINS                      )
1613 ASMANN AVE., #3                 )
CINCINNATI, OH 45229                 )
                                     )
AND                                  )
                                     )
ELAINE WAXLER                        )
9508 SOUTHGATE DRIVE                 )
CINCINNATI, OH 45241                 )
                                     )
AND                                  )
                                     )
CATHLEEN WEBER                       )
7451 COLERAIN AVENUE, APT. 22        )
CINCINNATI, OH 45269                 )
                                     )
AND                                  )
                                     )
DANIEL WEBBER                        )
1205 LESLIE MARIE                    )
ELSMERE, KY 41018                    )
                                     )
AND                                  )
                                     )
BRANDON WEBSTER                      )
109 CHRISTINA CT.                    )
ALEXANDRIA, KY 41001                 )
                                     )
AND                                  )
                                     )
LAURA WEISBECKER                     )
50 OLYMPUS COURT                     )
HAMILTON, OH 45013                   )
                                     )
AND                                  )
                                     )
KIRSTIN WEISMAN                      )
5899 GILMORE DRIVE                   )
FAIRFIELD, OH 45014                  )
                                     )
AND                                  )
                                     )
REGINA WESLEY                        )

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2303 VIVIAN PLACE                    )
COVINGTON, KY 41011                  )
                                     )
AND                                  )
                                     )
TIMOTHY WHALEN                       )
22 WARSAW AVENUE                     )
DRY RIDGE, KY 41035                  )
                                     )
AND                                  )
                                     )
VIOLET WHALEN                        )
940 CURRY LANE                       )
DRY RIDGE, KY 41035                  )
                                     )
AND                                  )
                                     )
LONNIE WHEELER                       )
406 MONTE DRIVE                      )
MASON, OH 45040                      )
                                     )
AND                                  )
                                     )
SOPHIA WHITE                         )
1439 LEMONTREE DR.                   )
CINCINNATI, OH 45240                 )
                                     )
AND                                  )
                                     )
WILDER, JOSEPH, AS                   )
ADMINISTRATOR OF THE ESTATE          )
OF TAMATHY WILDER                    )
234 LEWIS LANE                       )
NEWPORT, KY 41071                    )
                                     )
AND                                  )
                                     )
TROY WILDER                          )
2947 RIDGE AVENUE                    )
HEBRON, KY 41048                     )
                                     )
AND                                  )
                                     )
BENJAMIN WILLIAMS                    )
453 FOREST AVENUE                    )
ERLANGER, KY 41018                   )

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                              )
AND                           )
                              )
KELLY WILLIAMS                )
42 MEADOWCREST DRIVE          )
FRANKLIN, OH 45005            )
                              )
AND                           )
                              )
PATRICK WILLOUGHBY            )
2138 AMSTERDAM ROAD           )
COVINGTON, KY 41017           )
                              )
AND                           )
                              )
CAROL WILSON                  )
920 BLACKSTONE STREET         )
WASHINGTON COURT HOUSE,       )
OH 43160                      )
                              )
AND                           )
                              )
JETTON WILSON                 )
1356 WAYCROSS ROAD            )
CINCINNATI, OH 45240          )
                              )
AND                           )
                              )
ALISA WILSON ON BEHALF OF HER )
MINOR SON, JOSEPH WILSON      )
HC70 BOX 705                  )
DINGESS, WV 25671             )
                              )
AND                           )
                              )
KENNY WILSON                  )
3837 MORGAN COURT             )
AMELIA, OH 45102              )
                              )
AND                           )
                              )
PAUL WILSON                   )
534 FLEMING RD.               )
CINCINNATI, OH 45231          )
                              )
AND                           )

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                                     )
PAULA WILSON                         )
5381 SOUTHGATE BLVD, #1              )
FAIRFIELD, OH 45014                  )
                                     )
AND                                  )
                                     )
ROBERT WILSON                        )
4184 PAXTONWOODS LANE, APT. 9        )
CINCINNATI, OH 45209                 )
                                     )
AND                                  )
                                     )
TERRY WILSON                         )
419 EVANS COURT                      )
BUILDING E, APARTMENT 4              )
OWENSVILLE, OH 45160                 )
                                     )
AND                                  )
                                     )
VICKY WILSON                         )
4026 BENNETT DRIVE                   )
FAIRFIELD, OH 45011                  )
                                     )
AND                                  )
                                     )
DAWN WINGERT                         )
28 EVANS CT.                         )
HARRISON, OH 45030                   )
                                     )
AND                                  )
                                     )
PRISCILLA WITTMEYER                  )
3 FINCH COURT                        )
AMELIA OH 45102                      )
                                     )
AND                                  )
                                     )
WILLIAM WOLDER                       )
9243 DEERCROSS PKWY. APT #1A         )
BLUE ASH, OH 45236                   )
                                     )
AND                                  )
                                     )
BILLY WOLSING                        )
66 GOODRIDGE DR.                     )

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FLORENCE, KY 41042                   )
                                     )
AND                                  )
                                     )
AMBER WORK                           )
3834 KY. HWY. 330W                   )
FALMOUTH, KY 41040                   )
                                     )
AND                                  )
                                     )
DEBORAH WORLEY                       )
22 SAGEBRUSH LANE                    )
ERLANGER, KY 41018                   )
                                     )
AND                                  )
                                     )
TERESA WORLEY                        )
211 CHARISSA AVE.                    )
HILLSBORO, OH 45133                  )
                                     )
AND                                  )
                                     )
CARLA WOOTEN                         )
3981 THOMAS DRIVE                    )
ERLANGER, KY 41018                   )
                                     )
AND                                  )
                                     )
CORY WRIGHT                          )
11490 WHALLON COURT                  )
CINCINNATI, OH 45246                 )
                                     )
AND                                  )
                                     )
WRIGHT, RON, AS EXECUTOR OF          )
THE ESTATE OF LEAH WRIGHT            )
2643 OXFORD MILLVILLE ROAD           )
OXFORD, OH 45056                     )
                                     )
AND                                  )
                                     )
CHERYL WYATT                         )
9644 STEPHEN YOUNG ROAD              )
CAMDEN, OHIO 45311                   )
                                     )
AND                                  )

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                                     )
EMANUEL D. WYATT                     )
2220 FREEMAN AVENUE                  )
HAMILTON, OH 45011                   )
                                     )
AND                                  )
                                     )
VERONICA YEAKLE                      )
601 WEST STATE STREET                )
APARTMENT # 11                       )
TRENTON, OHIO 45067                  )
                                     )
AND                                  )
                                     )
EVELYN YOUNG                         )
5211 PONDEROSA DRIVE                 )
CINCINNATI, OH 45239                 )
                                     )
AND                                  )
                                     )
JOANN YOUNG                          )
200 BALLTOWN ROAD, APT. 10           )
WILLIAMSBURG, KY 40769               )
                                     )
AND                                  )
                                     )
JUDY YOUNG                           )
448 GREENWELL AVENUE                 )
CINCINNATI OH 45238                  )
                                     )
AND                                  )
                                     )
KEITH YOUNG                          )
491 HARWOOD ROAD                     )
MT. ORAB, OH 45154                   )
                                     )
AND                                  )
                                     )
CORRINE ZACHRY                       )
1934 GARDENA AVENUE                  )
GLENDALE, CA 91204                   )
                                     )
AND                                  )
                                     )
MARY ZUREICK                         )
7515 US HWY. 42, APT. 5              )

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FLORENCE, KY 41042          )
                            )
AND                         )
                            )
HANNAH ZYMSLO               )
10047 MILFORD ROAD          )
FALMOUTH, KY 41040          )
                            )
           PLAINTIFFS.      )
                            )
v.                          )
                            )
AETNA                       )
AETNA BETTER HEALTH, INC.   )
7400 WEST CAMPUS ROAD       )
NEW ALBANY, OH 43054        )
                            )
AND                         )
                            )
AETNA KENTUCKY              )
C T CORPORATION SYSTEM      )
306 W MAIN ST               )
SUITE 512                   )
FRANKFORT, KY 40601         )
                            )
AND                         )
                            )
AFLAC                       )
CORPORATION SERVICE COMPANY )
50 WEST BROAD ST. #1330     )
COLUMBUS, OH 43215          )
                            )
AND                         )
                            )
ALLIED INSURANCE COMPANY    )
OF AMERICA CORPORATION      )
SERVICE COMPANY             )
50 WEST BROAD ST. #1330     )
COLUMBUS, OH 43215          )
                            )
AND                         )
                            )
AMERIGROUP CORP.            )
CT CORPORATION SYSTEM       )
4400 EASTON COMMONS WAY     )
SUITE 125                   )

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COLUMBUS, OH 43219           )
                             )
AND                          )
                             )
ANTHEM BLUE CROSS BLUE SHIELD)
COMMUNITY INSURANCE          )
COMPANY                      )
120 MONUMENT CIRCLE          )
INDIANAPOLIS, IN 46204       )
                             )
AND                          )
                             )
LIBERTY BANKER’S LIFE        )
INSURANCE COMPANY            )
NATIONAL REGISTERED AGENTS, )
INC.                         )
4400 EAST COMMONS WAY        )
SUITE 125                    )
COLUMBUS, OH 43219           )
                             )
AND                          )
                             )
SEDGWICK CLAIMS MANAGEMENT )
SERVICES, INC.               )
CT CORPORATION SYSTEM        )
4400 EAST COMMONS WAY        )
SUITE 125                    )
COLUMBUS, OH 43219           )
                             )
AND                          )
                             )
BENOVATION                   )
CAI INSURANCE COMPANY        )
3481 CENTRAL PARKWAY         )
SUITE 300                    )
CINCINNATI, OH 45223         )
                             )
AND                          )
                             )
BCBS WEST VIRGINIA HIGHMARK, )
INC.                         )
HIGHMARK HEALTH, INC.        )
BCBS WEST VIRGINIA HIGHMARK )
THE CORPORATION TRUST        )
COMPANY                      )
CORPORATION TRUST CENTER,    )

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1209 ORANGE ST.              )
WILMINGTON, DE 19801         )
                             )
AND                          )
                             )
BLUE CROSS BLUE              )
SHIELD FLORIDA               )
CHIEF FINANCIAL OFFICER      )
P O BOX 6200 (32314-6200)    )
200 E. GAINES ST             )
TALLAHASSEE, FL 32399-0000   )
                             )
AND                          )
                             )
BLUE CROSS BLUE SHIELD       )
GEORGIA                      )
ATTN: CEO                    )
120 MONUMENT CIRCLE,         )
INDIANAPOLIS, IN, 46204, USA )
                             )
AND                          )
                             )
BLUE CROSS BLUE SHIELD       )
C T CORPORATION SYSTEM       )
289 S. CULVER ST.            )
LAWRENCEVILLE GA 30046-4804  )
                             )
AND                          )
                             )
BCBS ILLINOIS                )
HEALTH CARE SERVICE          )
CORPORATION                  )
ATTN: CEO                    )
BLUE CROSS BLUE SHIELD TOWER )
303 RANDOLPH                 )
CHICAGO IL 60601             )
                             )
AND                          )
                             )
BCBS KENTUCKY (BOTH)         )
ANTHEM INSURANCE CO.         )
120 MONUMENT CIRCLE          )
INDIANAPOLIS, IN 46204       )
                             )
AND                          )
                             )

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BCBS MASSACHUSETTS           )
ATTN: CHIEF EXECUTIVE OFFICER)
101 HUNTINGTON AVE.          )
STE. 1300                    )
BOSTON, MA 02199             )
                             )
AND                          )
                             )
BCBS MINNESOTA               )
BCBSM INC                    )
ATTN: CEO                    )
3535 BLUE CROSS RD.          )
EAGAN, MN 55122-1154         )
                             )
AND                          )
                             )
BLUE CROSS BLUE SHIELD       )
NEW JERSEY                   )
HORIZON BCBSNJ HEADQUARTERS )
ATTN: CEO                    )
3 PENN PLAZA EAST            )
NEWARK, NJ 07105             )
                             )
AND                          )
                             )
BCBS NORTH CAROLINA          )
DELIVERIES ONLY TO           )
BLUE CROSS AND BLUE SHIELD   )
OF NORTH CAROLINA            )
CEO PATRICK CONWAY           )
CORPORATE HEADQUARTERS       )
4615 UNIVERSITY DRIVE        )
DURHAM, NC 27707             )
                             )
AND                          )
                             )
BCBS TEXAS                   )
HEALTH CARE SERVICE          )
CORPORATION                  )
BLUE CROSS BLUE SHIELD TOWER )
303 RANDOLPH                 )
CHICAGO IL 60601             )
                             )
AND                          )
                             )
BLUE CROSS BLUE SHIELD OF    )

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TENNESSEE, INC.              )
ATTN: CEO                    )
SHELIA CLEMONS               )
1 CAMERON HILL CIR           )
CHATTANOOGA TN 37402-9815    )
                             )
AND                          )
                             )
ANTHEM BCBS VIRGINIA         )
ANTHEM, INC.                 )
ATTN: PRESIDENT AND          )
CEO GAIL BOUDREAUX           )
120 MONUMENT CIRCLE          )
INDIANAPOLIS, IN 46204       )
                             )
AND                          )
                             )
CENTENE                      )
CT CORPORATION SYSTEM        )
4400 EASTON COMMONS WAY      )
SUITE 125                    )
COLUMBUS, OHIO 43219         )
                             )
AND                          )
                             )
CIGNA HEALTHCARE, INC.       )
CT CORPORATION SYSTEM        )
4400 EASTON COMMONS WAY,     )
SUITE 125                    )
COLUMBUS OH 43219            )
                             )
AND                          )
                             )
COMMUNITY INSURANCE COMPANY)
4361 IRWIN SIMPSON RD.       )
MASON, OHIO 45040            )
                             )
AND                          )
                             )
SERVE) CT CORPORATION SYSTEM )
4400 EASTON COMMONS WAY      )
SUITE 125                    )
COLUMBUS OH 43219            )
                             )
AND                          )
                             )

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CUSTOM DESIGN BENEFITS)              )
QI SERVICES                          )
150 E. 4TH ST.                       )
CINCINNATI, OHIO 45202               )
                                     )
AND                                  )
                                     )
GOLDEN RULE INSURANCE                )
(UNITED HEALTHCARE)                  )
CT CORPORATION SYSTEM                )
4400 EASTON COMMONS WAY              )
SUITE 125                            )
COLUMBUS, OHIO 43219                 )
                                     )
AND                                  )
                                     )
GEHA                                 )
CT CORPORATION SYSTEM                )
120 SOUTH CENTRAL AVE.               )
CLAYTON, MISSOURI 63105              )
                                     )
AND                                  )
                                     )
UNITED HEALTHCARE SERVICES,          )
INC. (GOLDEN RULE INS. CO.)          )
CT CORPORATION SYSTEM                )
4400 EASTON COMMONS WAY              )
SUITE 125                            )
COLUMBUS, OHIO 43219                 )
                                     )
AND                                  )
                                     )
HARTFORD – DISABILITY                )
HARTFORD FINANCIAL SERVICES          )
GROUP, INC.                          )
ATTN: CHIEF EXECUTIVE                )
OFFICER/ GENERAL COUNSEL             )
690 ASYLUM AVE.                      )
HARTFORD, CT 06155                   )
                                     )
AND                                  )
                                     )
HEALTH ALLIANCE                      )
CEO JOHN SNYDER                      )
3310 FIELDS SOUTH DRIVE              )
CHAMPAIGN, IL 61822                  )

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                                     )
AND                                  )
                                     )
HEALTHSPAN / HEALTHSPAN              )
PREFERRED                            )
REBECCA N. HOLLAND                   )
1701 MERCY HEALTH PLACE              )
CINCINNATI OH 45237
                              )
ALSO SERVE                    )
REBECCA N. HOLLAND            )
1001 LAKESIDE AVENUE, SUITE 1200
                              )
CLEVELAND OH 44114            )
                              )
AND                           )
                              )
HUMANA HEALTH PLAN OF         )
OHIO, INC.                    )
CORPORATION SERVICE COMPANY )
50 WEST BROAD ST.             )
SUITE 1330                    )
COLUMBUS, OH 43215            )
                              )
AND                           )
                              )
INDIANA COMPREHENSIVE         )
HEALTH INSURANCE ASSOCIATION )
SERVE: DOUG STRATON,          )
EXECUTIVE DIRECTOR            )
9465 COUNSELORS ROW # 200,    )
INDIANAPOLIS, IN 46240        )
                              )
AND                           )
                              )
KIGA                          )
KENTUCKY LIFE AND HEALTH      )
INSURANCE GUARANTY            )
ASSOCIATION                   )
ATTN: GENERAL MANAGER/ CEO    )
4010 DUPONT CIRCLE, SUITE 232 )
LOUISVILLE, KENTUCKY 40202    )
                              )
AND                           )
                              )
MARQUETTE NATIONAL LIFE       )
INSURANCE COMPANY             )

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ATTN: PRESIDENT JASON ISRAEL   )
OR CEO/GENERAL COUNSEL         )
1001 HEATHROW PARK LANE,       )
SUITE 5001                     )
LAKE MARY, FL 32746            )
                               )
AND                            )
                               )
MEDBEN                         )
CEO OR REGISTERED AGENT        )
MEDICAL BENEFITS MUTUAL        )
LIFE INSURANCE, CO.            )
1975 TAMARACK RD.              )
NEWARK OH 43055                )
                               )
AND                            )
                               )
MEDICAID COVENTRY CARE         )
COVENTRY HEALTH CARE           )
CT CORPORATION SYSTEM          )
4400 EASTON COMMONS WAY        )
SUITE 125                      )
COLUMBUS OH 43219              )
                               )
AND                            )
                               )
MEDICAID KENPAC                )
275 EAST MAIN STREET           )
FRANKFORT, KY 40601            )
                               )
AND                            )
                               )
KENTUCKY MEDICAID              )
275 EAST MAIN STREET           )
FRANKFORT, KY 40601            )
                               )
AND                            )
                               )
MEDICAID PASSPORT              )
PASSPORT HEALTH                )
PPH OHIO LLC                   )
5650 BLAZER PARKWAY, SUITE 174 )
DUBLIN OH 43017                )
                               )
AND                            )
                               )

                                       81
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PASSPORT HEALTH PLAN                 )
552 E. MARKET ST.                    )
STE. 2800                            )
LOUISVILLE KY 40202                  )
                                     )
AND                                  )
                                     )
MEDICAID BUCKEYE                     )
ATTN: CEO                            )
BUCKEYE COMMUNITY                    )
HEALTH PLAN, INC.                    )
7700 FORSYTH BLVD., STE. 800         )
ST. LOUIS MO 63105                   )
                                     )
AND                                  )
                                     )
BUCKEYE COMMUNITY HEALTH             )
PLAN SOLUTIONS, INC.                 )
CT CORPORATION SYSTEM                )
4400 EASTON COMMONS WAY              )
SUITE 125                            )
COLUMBUS OH 43219                    )
                                     )
AND                                  )
                                     )
MEDICAID CARESOURCE                  )
KATRINA M. ENGLISH                   )
CARESOURCE                           )
230 N. MAIN STREET                   )
DAYTON OH 45402                      )
                                     )
AND                                  )
                                     )
VETERANS ADMINISTRATION              )
VETERANS ADMINISTRATION              )
OFFICE OF CHIEF COUNSEL              )
ATTN: DENNIS MCGUIRE OR              )
CHIEF COUNSEL                        )
441 WOLF LEDGES PARKWAY #403         )
AKRON, OHIO 44311                    )
                                     )
                  Defendants.        )


                                  COMPLAINT


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        Come now Plaintiffs, by and through Counsel and file this Complaint and state as

follows:

                                       INTRODUCTION

        This lawsuit is to hold Defendants accountable for approving fraudulent surgeries on their

insureds, the Plaintiffs.

        All of the Defendants knew Dr. Durrani was performing unnecessary surgeries on

insured’s and had an obligation and duty NOT to approve the surgeries Plaintiffs underwent by

Dr. Durrani at Cincinnati area hospitals.

                                        JURISDICTION

    1. This is a claim by Dr. Durrani Plaintiffs against their medical insurance carriers for

        approving unnecessary spine surgeries by Dr. Durrani they knew should have never been

        approved.

    2. This Court has jurisdiction under U.S. Code § 1332 diversity jurisdiction.

    3. Venue is proper because the claims arise out of causes of action filed in state court in

        Southwest Ohio in Hamilton County, federal court and Butler County.

    4. This cause of action is a good faith attempt to modify or expand existing law.

    5. Defendants had a duty to NOT approve a surgery which was unnecessary and to approve

        the use of BMP-2 and PureGen when they know the use was experimental.

    6. These insurance companies knew and approved these procedures leaving Plaintiffs with

        outstanding medical bills, medical liens and damages from unnecessary surgery.

                                  FACTUAL ALLEGATIONS




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  7. All Plaintiffs had an unnecessary spine surgery by Dr. Durrani at one of the following

      hospitals: West Chester Medical Center, Children’s Hospital, Christ Hospital, Good

      Samaritan Hospital, Journey Lite, Riverview and Deaconess.

  8. All Plaintiffs had the unnecessary spine surgery pre-approved by their medical insurance.

  9. Each Plaintiff is suing their medical insurance identified in this Complaint.

  10. West Chester/UC Health entered into a settlement with Medicare and Medicaid for $4.1

      million resolving those medical liens applicable to some Plaintiffs and those Plaintiffs

      seek an adjudication those liens are resolved.

  11. Frieda Aaron had Anthem Insurance under Policy # YRP998M63071, Medicare

      Insurance under Policy # XXX-XX-XXXX-A and Anthem Insurance under Policy #

      YRP010M65251.

  12. Patricia Adams had Cigna Insurance under Policy # U3680271702 and Medicare

      Insurance under Policy # XXX-XX-XXXX-A.

  13. Michelle Agee had BCBS Insurance under Policy # HQW110230194.

  14. Laura Aker had Healthspan Preferred Insurance under Policy # EB0262576 and UMR

      Insurance under an unknown Policy #.

  15. Jimmy Allen had Medicare Insurance under Policy # XXX-XX-XXXX-A.

  16. Katrina Allen had Medicare Insurance under Policy # XXX-XX-XXXX-A and Medicaid -

      Ohio Insurance under Policy # 102101469999.

  17. Sherri Allen had Medicaid - Ohio - CareSource Insurance under Policy # 10307314700,

      Anthem BCBS (Blue Access) Insurance under an unknown Policy #, Medicare Insurance

      under Policy # XXX-XX-XXXX-A and Anthem/Blue Access Insurance under Policy #

      EZEAN2475320.



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  18. Rebecca Applegate had Medicare Insurance under Policy # XXX-XX-XXXX-A and Medicaid

      - Ohio Insurance under Policy # 105357220099.

  19. Bradley Arnold had Anthem BCBS Insurance under Policy # B59460398.

  20. George Arnold had United Healthcare Insurance under Policy # 819802958.

  21. Diana Ashcraft had Humana Insurance under Policy # H07366167, Wellcare "Medicare

      plan" Insurance under an unknown Policy # and Medicare Insurance under Policy # 401-

      88-3582-A.

  22. Brian Atkins had Medicaid - Ohio - CareSource Insurance under Policy # 10305576200.

  23. Thomas Atkinson had United Healthcare Insurance under an unknown Policy #, BCBS

      Insurance under Policy # SES84681426 and Humana Insurance under Policy #

      H46741135-03.

  24. Jonathan Atwell had Medicare Insurance under Policy # XXX-XX-XXXX-A.

  25. Christopher Atwood had Medicare Insurance under Policy # XXX-XX-XXXX-A and Humana

      Insurance under an unknown Policy #.

  26. Thomas Augst had Medicaid - Ohio - Molina Insurance under Policy # 254499466403.

  27. Joshua Ault had Anthem BL Insurance under Policy # IVP921821643 and Indiana

      Medicaid/CareSource Insurance under Policy # 102274739699.

  28. Amanda Ayres had Medicaid - KY Health Spirit Choices Insurance under Policy # 00-

      24480311.

  29. Gayle Bachmann had Mediplan Insurance under Policy # 4353417, Tricare Insurance

      under Policy # XXX-XX-XXXX and Medicare Insurance under Policy # XXX-XX-XXXX-D.

  30. Caidan Bailey had Humana Insurance under Policy # 004416768.

  31. Nicole Baker had Medicare Insurance under Policy # XXX-XX-XXXX-B.



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  32. Paul Baker had Amerigroup Insurance under Policy # 990160796.

  33. Jennifer Ballinger had Humana Insurance under Policy # H58286710-02 and Medicare

      Insurance under Policy # XXX-XX-XXXX-A.

  34. Thomas Barth had Tricare Prime (North) Insurance under Policy # XXX-XX-XXXX and

      United Healthcare Insurance under an unknown Policy #.

  35. Cindy Bartlett had Anthem BCBS Insurance under Policy # PVJ580M81144, UMR

      Insurance under an unknown Policy # and Medicare Insurance under Policy # 404-02-

      7222-A.

  36. Laura Batsche had Anthem Insurance under Policy # YRP138M65465.

  37. Nicholas Battista had Aetna Insurance under Policy # W140291619 and Medical Mutual

      Insurance under Policy # 806234042.

  38. Jody Bauer had Medicaid-Ohio-Caresource Insurance under Policy # 10296020400.

  39. Joseph Baumgardner had United Healthcare Insurance under Policy # 934443256 and

      BCBS of Texas Insurance under an unknown Policy #.

  40. Louise Bayliss had United Healthcare / Secure Horizons Insurance under Policy #

      845969507-00 and Medicare Insurance under Policy # XXX-XX-XXXX-D.

  41. Michelle Beavan had United Healthcare Insurance under Policy # 975841188.

  42. Phyliss Bechtold had Aetna Insurance under Policy # W000471292, Medicare Insurance

      under Policy # XXX-XX-XXXX-A and Cigna-NALC Insurance under Policy # N32378801.

  43. Judy Beck had Medical Mutual of Ohio Insurance under Policy # 304055972088,

      Medical Mutual of Ohio Insurance under Policy # 304055972088 and Medicare

      Insurance under Policy # XXX-XX-XXXX-A.




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  44. Troy Beckelheimer had Humana Insurance under Policy # 00-216361601 and KY Health

      Alliance Insurance under Policy # 3282601.

  45. Nancy Begley had United Healthcare Insurance under Policy # 911056397.

  46. Cathy Beil had Cigna/APWU Insurance under Policy # 911139864 and Medicare

      Insurance under Policy # XXX-XX-XXXX-A.

  47. Terry Beil had Medicare Insurance under Policy # XXX-XX-XXXX-B and Mutual of Omaha

      Insurance under Policy # 650358-89.

  48. Mackenzie Bender had Humana Insurance under Policy # H0020233903.

  49. Denise Benge had Humana Insurance under an unknown Policy #.

  50. Nicholas Benge had Anthem Insurance under Policy # YRP596M61557.

  51. Antoinette Benjamin had Ohio Medicaid - Choice Care Insurance under an unknown

      Policy #, Anthem Insurance under an unknown Policy # and Medicare Insurance under

      Policy # XXX-XX-XXXX-A.

  52. Shawnda Benton had Medicare Insurance under Policy # XXX-XX-XXXX-A.

  53. William Benton had Anthem Insurance under Policy # YRP319M57184 and VA

      Healthcare/Veterans Choice Insurance under Policy # 1325014020 and Medicare

      Insurance under Policy # XXX-XX-XXXX-A.

  54. Denise Bess had Humana Insurance under Policy # 000640411-01 and United Healthcare

      Insurance under an unknown Policy #.

  55. Leona Beyer had Medical Mutual Insurance under Policy # 596837956763, Aetna

      Insurance under Policy # W152785241 and Medicare Insurance under Policy # 422-66-

      5363-A.

  56. Trey Billing had Anthem Insurance under Policy # YRP654M53778.



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  57. Edythe Bishop had Medicare Insurance under Policy # XXX-XX-XXXX-A, Anthem

      Insurance under Policy # Ruman1537921 and United Healthcare Insurance under Policy

      # 902934789.

  58. Anthony Bode had United Healthcare Insurance under Policy # XXX-XX-XXXX.

  59. Barbara Boggs had Medicare Insurance under Policy # XXX-XX-XXXX-A.

  60. Kaitlyn Boggs had United Healthcare Insurance under Policy # 856133354.

  61. Nancy Boland had Medicare Insurance under Policy # XXX-XX-XXXX-A.

  62. Jennifer Bookman had Anthem Insurance under Policy # LMBAN5896647 and Medical

      Mutual Insurance under Policy # 590772587727.

  63. Patricia Boone had Humana Insurance under Policy # H42003690 and Medicare

      Insurance under Policy # XXX-XX-XXXX-A.

  64. Deena Borchers had Humana Insurance under Policy # H54729657-03.

  65. Doris Botner had Humana Insurance under Policy # H04602544 and Medicare Insurance

      under Policy # XXX-XX-XXXX-A.

  66. Gerald Botner had Humana Insurance under Policy # H02655622 and Medicare

      Insurance under Policy # XXX-XX-XXXX-A.

  67. Arletta Bowling had United Healthcare Insurance under Policy # 91225979-00 and

      Medicare Insurance under Policy # XXX-XX-XXXX-A.

  68. Nancy Bowman had Medicare Insurance under Policy # XXX-XX-XXXX-A and Humana

      Insurance under an unknown Policy #.

  69. Penny Brackett had KIGA Insurance under Policy # KY72011839, Medicaid - Indiana

      Insurance under an unknown Policy # and Medicare Insurance under Policy # 404-11-

      3498-A.



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  70. Latoya Bradshaw had Medicaid - Ohio - CareSource Insurance under Policy #

      10268658500.

  71. Rebekah Brady had United Healthcare Insurance under Policy # 920360788.

  72. Christina Brashear had Medicare Insurance under Policy # XXX-XX-XXXX-A, Medical

      Mutual of Ohio Insurance under an unknown Policy # and Medicaid - Ohio Insurance

      under Policy # 5013147912/MA C/01.

  73. Melissa Braucher had Anthem Insurance under an unknown policy #, United Healthcare

      Insurance under an unknown Policy # and Humana Insurance under an unknown Policy

      #.

  74. Dominique Bray’s Insurance and Policy # will be added.

  75. Lindsey Bray had Humana Insurance under Policy # 700365159.

  76. Brittany Brewer had Anthem BCBS Insurance under Policy # YRP798M55585 and

      United Healthcare under Policy # 941363941.

  77. Randall Brewer had Medicaid - Ohio Insurance under Policy # 103357841899.

  78. Sharon Brice had Sheakley Unicomp/Ohio Workers Comp Insurance under Policy # 00-

      43768 and Medicare Insurance under Policy # XXX-XX-XXXX-A.

  79. Carrie Britten had United Healthcare Insurance under Policy # 811374620-00.

  80. Michael Brophy had Medicare Insurance under Policy # XXX-XX-XXXX-A and Medicaid -

      KY- KY Spirit Health Choices Insurance under Policy # 00-34231731.

  81. Eileen Brorein had Medicare Insurance under Policy # XXX-XX-XXXX-A.

  82. Dawn Brown had Medicaid - OH - Molina Insurance under Policy # 314003381603.00.

  83. James Brown had Medicare Insurance under Policy # XXX-XX-XXXX-A and Medicaid -

      Ohio Insurance under Policy # 103952307999.



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  84. Tara Brown had Anthem Insurance under Policy # YRR916M56307 and Medicare

      Insurance under Policy # XXX-XX-XXXX-A.

  85. Patricia Bruce had Humana Insurance under Policy # H01471117 and Medicare Insurance

      under Policy # XXX-XX-XXXX-A.

  86. Jonathan Brunner had Allied Insurance under Policy # ZZ0012328 and Anthem Insurance

      under Policy # OHSAN5341698.

  87. Angela Buechel had Anthem Insurance under Policy # YRP321M56295.

  88. Kayla Burton had Anthem Insurance under Policy # DCBAN5320594.

  89. Vicki Buschur had WC Ohio Managed Care Insurance under Policy # 291801241 and

      Medicaid - Ohio - CareSource Insurance under Policy # 10265576900.

  90. Kathleen Bushelman had Health Alliance Insurance under Policy # 3655311 and United

      Healthcare Insurance under an unknown Policy #.

  91. Annette Buskirk had Ohio Medicaid- Molina Insurance under Policy #102594818199.

  92. Brenda Butler had Anthem Insurance under Policy # UWE100021159.

  93. Michelle Byar had Medicaid - Kentucky - WellCare Insurance under Policy # 11659622

      and Medicare - Medicare confirmed no Medicare Insurance under Policy # XXX-XX-XXXX-

      A.

  94. Timothy Byrd had Worker's Comp Insurance under an unknown Policy # and Medicare

      Insurance under Policy # XXX-XX-XXXX-A.

  95. Doug Callahan had Medicaid - Ohio - Molina Insurance under Policy # 106328721199

      and VA Healthcare Insurance under Policy # 7346243588.

  96. Patrick Calligan had Cigna Insurance under Policy # U4474471402.

  97. Jan Campbell had UMR Insurance under Policy # 13882586.



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  98. Robert Campbell had United Healthcare Insurance under Policy # 831131328 and United

      Healthcare Insurance under Policy # 831131328.

  99. Andrew Carr had GEHA / Medco Insurance under an unknown Policy #, Humana

      Insurance under an unknown Policy # and ICHIA Insurance under Policy #

      31086125900.

  100.       Bunnavuth Chhun had Medical Mutual / USF Holland Insurance under Policy #

      806039170.

  101.       Tonya Chisman had BCBS of Massachusetts Insurance under Policy #

      LKA983336940.

  102.       Sherri Cinquina had United Healthcare Insurance under Policy # 97159875600,

      Medicaid - Ohio Insurance under Policy # 104537010199 and United Healthcare

      Insurance under an unknown Policy #.

  103.       Chris Clark had United Healthcare Insurance under Policy # 811268493.

  104.       Jessica Cochran had Med Ben Insurance under Policy # XXX-XX-XXXX.

  105.       John Collins had Medicaid - Ohio - CareSource Insurance under Policy #

      150609501 and Medicaid - Ohio - CareSource Insurance under Policy # 150609501.

  106.       Elizabeth Compo had Humana Insurance under an unknown Policy #, United

      Healthcare Insurance under Policy # 929832705-00, United Healthcare Insurance under

      Policy # 801827763 and Medicare Insurance under Policy # XXX-XX-XXXX-A.

  107.       David Conger had Anthem BCBS of Ohio Insurance under Policy # R59583536

      and Medicare Insurance under Policy # XXX-XX-XXXX-A.

  108.       Kenneth Conger had Anthem BCBS of Ohio Insurance under Policy #

      R59583536.



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  109.       Brenda Conley had Hartford-Disability Insurance under Policy # 9002719351,

      Humana Insurance under Policy # H42998504, UMR Insurance under Policy # 13973658

      and Medicare Insurance under Policy # XXX-XX-XXXX-A.

  110.       Dana Conley had Anthem Insurance under Policy # LLZ675A22772.

  111.       Lisa Conley had Medicaid - Kentucky - KY Health Choices Insurance under

      Policy # 000-4121471, Medicare Insurance under Policy # XXX-XX-XXXX-A and United

      Healthcare Insurance under Policy # 907984040-00.

  112.       Francene Cook had Anthem Blue Access Insurance under Policy #

      YRP684M63991.

  113.       Michael Cook had Aetna Insurance under Policy # W163632259 and Medicaid -

      Ohio - CareSource Insurance under Policy # 10315035400.

  114.       Gary Coots had BCBS of IL Insurance under Policy # TEA806073332, Humana

      Insurance under an unknown Policy # and Medicare Insurance under Policy # 406-66-

      6618-A.

  115.       Janet Cornett had BCBS Insurance under Policy # NLM110835989001 and BCBS

      (Highmark) Insurance under Policy # NLM110835989001.

  116.       Jacob Cotter had Anthem Insurance under Policy # KYUAN1940053.

  117.       Barbara Couch had Medicaid - OH - Molina Insurance under Policy #

      314153188302.

  118.       Jackie Couch had United Healthcare Insurance under Policy # 097473062-11 and

      Medicare Insurance under Policy # XXX-XX-XXXX-A.

  119.       Eric Courtney had Medicaid - Ohio Insurance under Policy # AXXXXXXXX-01.




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  120.       Michael Crail had United Healthcare Insurance under Policy # 911-87726-04 and

      Medicare Insurance under Policy # XXX-XX-XXXX-A.

  121.       Karen Crissinger had Medicare Insurance under Policy # XXX-XX-XXXX-A and

      Medicaid - OH Insurance under Policy # 124024488702.

  122.       Joi Crowe had Medical Mutual Insurance under an unknown Policy #, Ashland

      Incorporated Insurance under an unknown Policy #, Healthspan Insurance under Policy #

      MCS000171 and Medicare Insurance under Policy # XXX-XX-XXXX-TA.

  123.       Kali Crowe had Anthem Insurance under Policy # YRP261M65792.

  124.       Joy Cullins had Aetna Insurance under Policy # W1722 35894.

  125.       Kathryn Curley had Medicaid - Ohio - CareSource Insurance under Policy #

      1892863 and United Healthcare Insurance under Policy # 9118772604.

  126.       William Jr Dabney had Medicare Insurance under Policy # XXX-XX-XXXX-A and

      BWC/Ohio Workers Comp Insurance under an unknown Policy #.

  127.       Margaret Dailey had Anthem Insurance under Policy # YRA386M54556, Humana

      Insurance under Policy # H48714768 and Medicare Insurance under Policy # 273-26-

      8989-D2.

  128.       Tammy Dale had Healthspan Insurance under Policy # ERF000417.

  129.       Scott Daniel had Anthem Blue Insurance under Policy # YRP705M56470 and

      Medicaid - Ohio - WellCare Insurance under Policy # 14495670 (Medicaid

      #1000186416).

  130.       Joseph Davis had United Healthcare Insurance under Policy # 954383607-00 and

      Medicare Insurance under Policy # XXX-XX-XXXX-A.

  131.       Nellie Davis had Anthem Insurance under Policy # YRP787M60549.



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  132.       Ralph Dawson had Medicare Insurance under Policy # XXX-XX-XXXX-A and United

      Healthcare Insurance under Policy # 305130139-12.

  133.       Ollie Deaton had Medicare Insurance under Policy # XXX-XX-XXXX-A.

  134.       Stefanie Deaton had United Healthcare Insurance under Policy # 856787857.

  135.       Damon Deck had Anthem Insurance under Policy # TOANN1127006.

  136.       Sandra Dennis had Medicaid - Ohio - Molina Insurance under Policy #

      10417783199.

  137.       Robert Densler had Medicare Insurance under Policy # XXX-XX-XXXX-A.

  138.       Kristine Dority had Humana Insurance under an unknown Policy #, United

      Healthcare Insurance under an unknown Policy #, BCBS of Florida Insurance under

      Policy # H68358863 and Medicare Insurance under Policy # XXX-XX-XXXX-A.

  139.       Carolyn Dotson had Allied BCHP Insurance under Policy # 220014417 and

      United Healthcare Insurance under Policy # 908952953.

  140.       Deborah Doyle had Medicaid - Ohio - Caresource Insurance under Policy #

      10245995600 and Medicare Insurance under Policy # XXX-XX-XXXX-A.

  141.       Doug Drafts had Aetna Insurance under an unknown Policy # and United

      Healthcare Insurance under Policy # 946101708.

  142.       Natasha (Lainhart) Dressman had Medicaid - Kentucky - Coventry Cares

      Insurance under Policy # 83031389301 and Medicare Insurance under Policy # 406-33-

      1654-A.

  143.       Patrick Dugan had United Healthcare Insurance under Policy # 949011021.

  144.       Billy Dugger had United Healthcare Insurance under Policy # 940278954 and

      Medicare Insurance under Policy # XXX-XX-XXXX-A.



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  145.       Dawn Dunklin had Ohio BWC Insurance under Policy # 299826402.

  146.       Jacob Durham had AmeriGroup Insurance under Policy # 99008392400 and

      Medicaid - Ohio Insurance under Policy # 1048085433.

  147.       Darrell Earls had Cigna Insurance under Policy # U1510051702 and Medicaid -

      Ohio - CareSource Insurance under Policy # 10360043900.

  148.       Christopher Ebbing had Med Ben Insurance under Policy # XXX-XX-XXXX.

  149.       Mona Eder had MHBH-The Mail Handler's Benefit Plain Insurance under Policy

      # 784205849-01.

  150.       Kevin Elfers had Healthspan Insurance under Policy # MCS000224, WC Ohio

      Managed Care/Ohio Workers Comp Insurance under Policy # 288683850 and Medicare

      Insurance under Policy # XXX-XX-XXXX-A.

  151.       Connie Ellington had Humana Insurance under Policy # XX-XXXXXXX, Aetna

      Insurance under an unknown Policy # and United Healthcare Insurance under Policy #

      827080517.

  152.       Robert Ellington had Humana Insurance under Policy # XX-XXXXXXX, United

      Healthcare Insurance under Policy # 827080517 and Medicare Insurance under Policy #

      XXX-XX-XXXX-A.

  153.       Richard Elliott had Anthem Insurance under Policy # YRN294M60735.

  154.       Kelly Engle had Workers' Comp - Sheakley Insurance under Policy # 07-831588.

  155.       Brenda Errgang had Anthem Insurance under Policy # YRN739M68773.

  156.       Tracy Esselman had Anthem BCBS of Ohio Insurance under Policy #

      MCD837759817.




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  157.       Margie Eversole had Medicaid - Kentucky - KY Health Choices Insurance under

      Policy # 000-7542031.

  158.       Arlene Fait had United Healthcare Insurance under Policy # 823019402 and

      Medicare Insurance under Policy # XXX-XX-XXXX-A.

  159.       Tony Falkner had Medicare Insurance under Policy # XXX-XX-XXXX-A.

  160.       Neil Favaron had Anthem Insurance under Policy # WLUAN0301733,

      Department of Veterans Affairs (VA) Insurance under Policy # XXX-XX-XXXX-A and

      Medicare Insurance under Policy # XXX-XX-XXXX-A.

  161.       Jacob Feltner had Humana Insurance under Policy # H08867430-00 and Medicaid

      - Kentucky Insurance under an unknown Policy #.

  162.       Karen Feltner had Medicaid - Kentucky (Aetna) Insurance under Policy # 00-

      2928361, Kentucky Medicaid Insurance under Policy # 5044311 and Medicare Insurance

      under Policy # XXX-XX-XXXX-A.

  163.       Angela Ferrell had Anthem BL - Non Trad Insurance under Policy #

      QCB9029000500 and Tricare Insurance under an unknown Policy #.

  164.       Damian Fields had Medicaid - Ohio - Caresource Insurance under Policy #

      10269123000 and United Healthcare Insurance under an unknown Policy #.

  165.       Caela Finnell had Humana Insurance under Policy # 88370102 and UMR

      Insurance under Policy # Y15435799.

  166.       Troy Fite had Humana Insurance under an unknown Policy # and United

      Healthcare Insurance under Policy # 813374816.

  167.       Alyssa Flatt had Medicaid - Ohio - Caresource Insurance under Policy #

      10317773300.



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  168.       Francine Ford had Aetna Insurance under an unknown Policy # and United

      Healthcare Insurance under Policy # 867937033.

  169.       Shamyia Ford had Medicaid - Ohio - CareSource Insurance under Policy #

      10232315800.

  170.       Lennie Fossett had Humana Insurance under an unknown Policy #, Workers'

      Comp - Medical Administrators Inc. Insurance under Policy # 01-453581 and Medicare

      Insurance under Policy # XXX-XX-XXXX-A.

  171.       Angela Foster had Anthem Access Insurance under Policy # YRP297545331.

  172.       Amanda Franks had Humana Insurance under an unknown Policy # and United

      Healthcare Insurance under Policy # 4948515292.

  173.       Joann Frazier had Medicare Insurance under Policy # XXX-XX-XXXX-A.

  174.       Julie Freeman had Anthem Insurance under Policy # R58936228.

  175.       Amy Fuller had Medicaid - KY- KY Spirit Health Choices Insurance under Policy

      # 00-21204461.

  176.       Judith Gardner had Anthem Insurance under Policy # YRP576M60447.

  177.       Christine Geralds had Medicare Insurance under Policy # XXX-XX-XXXX-A,

      Humana Insurance under an unknown Policy # and United Healthcare Insurance under

      Policy # 963212206.

  178.       Erma Gilbert had Humana Insurance under Policy # H58300524-00 and Humana

      Insurance under Policy # 784153309-02.

  179.       Christina Goldstein had Anthem Insurance under Policy # EZVAN2407854,

      Cigna Insurance under Policy # U2845303801, United Healthcare Insurance under an

      unknown Policy # and Medicare Insurance under Policy # XXX-XX-XXXX-A.



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  180.       Donna Good had Medicaid - Ohio - Molina Insurance under Policy #

      103393169099.

  181.       Greg Graber had Anthem BCBS Insurance under Policy # R50225755.

  182.       Maurice Grabow had Medicare Insurance under Policy # XXX-XX-XXXX-A and

      United Healthcare Insurance under Policy # 0-67258820-11.

  183.       Erin Greelish had Humana Insurance under Policy # XX-XXXXXXX, Anthem BCBS

      Insurance under Policy # YRP704M74374 and Medicare Insurance under Policy # 402-

      25-7872-A.

  184.       Gloria Greene had United Healthcare Insurance under Policy # 961055275 and

      Medicare Insurance under Policy # XXX-XX-XXXX-A.

  185.       Todd Green had AmeriGroup Insurance under Policy # 99007829400.

  186.       Robbie Gregory had Anthem Insurance under Policy # YRP736M66713.

  187.       Carla Griessman had Anthem Insurance under Policy # AKPAN0688755.

  188.       Susan Griffin had Humana Insurance under an unknown Policy #, Standard Life

      Insurance under Policy # 810067812 and Medicare Insurance under Policy # 281-28-

      4713-D.

  189.       Jenny Grimm had Anthem Insurance under Policy # PZN395M55663, Medical

      Mutual of Ohio Insurance under an unknown Policy # and Medicare Insurance under

      Policy # XXX-XX-XXXX-A.

  190.       Melissa Habermehl had Humana Insurance under Policy # XX-XXXXXXX.

  191.       Kevin Haggard had Aetna Insurance under Policy # BBQWL14A.

  192.       Lenora Haggard had United Healthcare Insurance under Policy # 952776752-00.

  193.       Paris Halbert had Medicaid - Ohio Insurance under an unknown Policy #.



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  194.       Lynn Haley had Anthem Insurance under Policy # CBPAN0977310.

  195.       Alyssa Hall had Kentucky Medicaid Insurance under Policy # 0025482351 and

      Medicare Insurance under Policy # XXX-XX-XXXX-A.

  196.       Lisa Hall had Humana Insurance under Policy # H53476354 and Medicare

      Insurance under Policy # XXX-XX-XXXX-A.

  197.       Ruhama Hall had Healthspan Preferred/Grp. Sheakley Insurance under Policy #

      SHE000874.

  198.       Dorothea Hamilton had Anthem Insurance under Policy # YRS101M53730 and

      Medicare Insurance under Policy # XXX-XX-XXXX-A.

  199.       Samantha Hamilton had United Healthcare Insurance under Policy # 970726950.

  200.       William Hamilton had Medicaid - Ohio Insurance under Policy # 106587588099.

  201.       Courtney Hammons had Anthem Insurance under an unknown Policy # and

      SuperMed Insurance under Policy # 297901635.

  202.       Ryan Handorf had United Healthcare Insurance under Policy # 857897962.

  203.       Timothy Hannon had Medical Mutual of Ohio/SuperMed Insurance under Policy

      # 474914801718.

  204.       Robin Harbert had BCBS Insurance under Policy # UAL829575775.

  205.       David Harris had Humana Insurance under an unknown Policy # and United

      Healthcare Insurance under Policy # 923895757.

  206.       Adam Hartman had Humana Insurance under Policy # 1906044.

  207.       Kevin Hartness had AmeriGroup Insurance under Policy # 105252110999 and

      Medicare Insurance under Policy # XXX-XX-XXXX-A.

  208.       Jessica Hastings had Anthem Insurance under Policy # YRP138M65465.



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    209.      Wayne Hatfield had Medicare Insurance under Policy # XXX-XX-XXXX-A and

       Humana Insurance under Policy # XX-XXXXXXX.

    210.      Douglas Hayes had Anthem Insurance under Policy # AKPAN0688603.

    211.      William Hayes’ Insurance and Policy # will be added.

    212.      Emily Haynes had Humana Insurance under an unknown Policy # and United

       Healthcare Insurance under Policy # 938419322.

    213.      Minuet Healy had BCBS / Community Insurance Company Insurance under

       Policy # R59554765 and Humana Insurance under Policy # 3460869.

    214.      Heather Heffner had Medicaid - Ohio - CareSource Insurance under Policy #

       10385066200.

    215.      Denise Helton had Medicaid - Ohio - Molina Insurance under Policy #

       315254946902.

    216.      Evelyn Helton had Medicare Insurance under Policy # XXX-XX-XXXX-A and

       Anthem Insurance under Policy # 611M65868 and Humana Insurance under an unknown

       Policy #.

    217.      Theresa Helton had Medicaid - Ohio - Amerigroup Community Care Insurance

       under Policy # 990120482 and Medicare Insurance under Policy # XXX-XX-XXXX-A.

    218.      Debra Henderson had Medical Mutual Insurance under Policy # 937247553537

       and Medicare Insurance under Policy # XXX-XX-XXXX-TA.

    219.      Kelly Hennessy had Anthem BCBS Insurance under Policy # YRP820M55323,

       Anthem Blue - Medicare Access Value (RPPO) Insurance under Policy #

       VOD852M7865, Humana Insurance under Policy # 93100473501 and Medicare

       Insurance under Policy # XXX-XX-XXXX-A.



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    220.      Barbara Hensley had Medicare Insurance under Policy # XXX-XX-XXXX-A.

    221.      Ryan Hensley had Anthem Insurance under Policy # XXX-XX-XXXX, Medicare

       Insurance under Policy # XXX-XX-XXXX-A and Cigna Insurance under Policy #

       FLX0960517.

    222.      Emily Herbert had Anthem Insurance under Policy # YRH102482212299.

    223.      Jill Kathy Hersley had Medicaid - Indiana Insurance under Policy #

       100812072599.

    224.      Jennifer Hickey had Humana Insurance under Policy # H03233926.

    225.      Karen Higginbothan had Medicaid - Ohio - Molina Insurance under Policy #

       314020115707 and Medicare Insurance under Policy # XXX-XX-XXXX-A.

    226.      Alissa Hightchew had Humana Insurance under an unknown Policy # and

       Medicaid - Kentucky - KENPAC Insurance under Policy # 0019032021.

    227.      Michael Hillard had Humana Insurance under Policy # XX-XXXXXXX.

    228.      Dirk Hitchcock had Cigna Insurance under Policy # U03905270 01.

    229.      Celeste Hoffman had Anthem Insurance under Policy # 200112059-00 and

       Medicare Insurance under Policy # XXX-XX-XXXX-A.

    230.      Luke Holcomb had Medicaid - Ohio - CareSource Insurance under Policy #

       104897976799.

    231.      Loretta Hon had BCBS of Minnesota Insurance under Policy # SSIXZ6219812.

    232.      Chelsea Hortman had Anthem Insurance under Policy # YRP035M61861.

    233.      Robert Houghton had Benovation Insurance under Policy # 00-7200012900 and

       Humana Insurance under Policy #XX-XXXXXXX.

    234.      Robert Houghton II had Humana Insurance under Policy # 3561669.



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    235.      Ricky Hounchell had BWC/Ohio Workers Comp Insurance under Policy # 95-

       464535 and Medicare Insurance under Policy # XXX-XX-XXXX-A.

    236.      Rita Hounchell had Medicare Insurance under Policy # XXX-XX-XXXX-A.

    237.      Kathryn Howell had TriCare Prime Insurance under Policy # XXX-XX-XXXX.

    238.      Lois Hughes had United Healthcare Insurance under Policy # 859294826-00 and

       Medicare Insurance under Policy # XXX-XX-XXXX-D.

    239.      Tammy Hughes had Anthem BCBS of Alabama Insurance under Policy #

       GZF814014505, Humana Insurance under an unknown Policy #, BCBS of Alabama

       Insurance under Policy # BSH81427619 and Medicare Insurance under Policy # 407-08-

       8233-A.

    240.      Kevin Hunley had United Healthcare Insurance under Policy # 919411340 and

       Medicare Insurance under Policy # XXX-XX-XXXX-A.

    241.      Carolyn Hursong had Medicare Insurance under Policy # XXX-XX-XXXX-B and

       United Healthcare Insurance under Policy # 0-85005355-12.

    242.      Connie Huser had Medicare Insurance under Policy # XXX-XX-XXXX-A and United

       Healthcare Insurance under Policy # 0-32159777-11.

    243.      George Hutchinson had Medicaid - Ohio - Buckeye Insurance under Policy #

       10835192099.

    244.      Martha Hutton had Humana Insurance under an unknown Policy # and United

       Healthcare Insurance under Policy # 854622932.

    245.      Irene Hyde had Medicare Insurance under Policy # XXX-XX-XXXX-B and United

       Healthcare Insurance under Policy # 0-18842441-12.

    246.      Jeffrey Hyde had United Healthcare Insurance under Policy # 946193969.



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    247.      Elsa Ieraci had Anthem Insurance under Policy # PUJ130M65121, Humana

       Insurance under Policy # XXX-XX-XXXX and Medicare Insurance under Policy # 085-68-

       5612-A.

    248.      Alyssa Jackson had Humana Insurance under an unknown Policy # and United

       Healthcare Insurance under Policy # 949482171.

    249.      Tracy Janson had Medicare Insurance under Policy # XXX-XX-XXXX-A.

    250.      Kimberly Jenkins had Kentucky Medicaid Insurance under Policy # 00-07080151,

       MedBen Insurance under Policy # XXX-XX-XXXX and Medicare Insurance under Policy #

       XXX-XX-XXXX-A.

    251.      Sarah Jessee had Medicaid - Ohio - CareSource Insurance under Policy #

       10226502200.

    252.      Stephanie Jobe had Humana Insurance under Policy # XX-XXXXXXX and Aetna

       Insurance under Policy # W1802013459.

    253.      Amber Johnson’s Insurance and Policy # will be added.

    254.      Chelsea Johnson had Cigna Insurance under Policy # U1298925002.

    255.      Karen Johnson had Blue Cross Blue Shield of Georgia Insurance under an

       unknown Policy # and Blue Cross Blue Shield of Ohio Insurance under Policy #

       R59603595.

    256.      Roger Johnson had Medicaid - Ohio - Molina Insurance under Policy #

       105289694999.

    257.      Sara Jonas had Medicare Insurance under Policy # XXX-XX-XXXX-A, Humana

       Insurance under Policy # H5873678 and Mutual of Omaha Insurance under Policy #

       543671-88.



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    258.      Dillon Jones had Anthem Blue Insurance under Policy # YRP020M54222 and

       United Healthcare Insurance under Policy # 935732197.

    259.      Joan Jones had Medicaid - KY - Aetna Insurance under Policy # 00-00067471 and

       Medicare Insurance under Policy # XXX-XX-XXXX-A.

    260.      Rachel Jones had Anthem Insurance under Policy # YRP915M53755.

    261.      Sydney Jones had Anthem Partnership Insurance under Policy #

       YRH103197842099 and had Medicaid - Indiana Insurance under an unknown Policy #.

    262.      Tammy Jones had Anthem Insurance under an unknown Policy # and Humana

       Insurance under an unknown Policy #.

    263.      Jacqueline Judkins had Medicaid - Ohio - Molina Insurance under Policy #

       314312342402.

    264.      Phyllis Judkins had Anthem Insurance under Policy # R59403110 and had

       Medicare Insurance under Policy # XXX-XX-XXXX-A.

    265.      Sarah Juergens had Ohio Medicaid under Policy #102860533399.

    266.      Linda Kallmeyer-Ward had Pennsylvania Insurance Co. Insurance under Policy #

       0Z0010514, Medicare Insurance under Policy # XXX-XX-XXXX-D7 and Marquette National

       Life Insurance under an unknown Policy #.

    267.      Katelyn Kauffman had United Healthcare Insurance under Policy # 831926484.

    268.      Joshua Kaufman had Aetna Insurance under Policy # BBP2WTBC and Anthem

       Insurance under Policy # US3720560970010.

    269.      Michelle Keplinger had Medicare Insurance under Policy # XXX-XX-XXXX-A and

       BCBS - FEP / BCBS Association Insurance under Policy # R59440976.




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    270.      Martha Kibler had Medicare Insurance under Policy # XXX-XX-XXXX-A, Anthem

       Insurance under an unknown Policy #, Humana Insurance under an unknown Policy #

       and Medi-Gold Insurance under Policy # 000-101073.

    271.      Deborah Kidd had Centene Insurance under an unknown Policy #, Medicaid -

       Ohio Insurance under Policy # 00-16420371 and had Medicaid - Ohio - Buckeye

       Insurance under Policy # XXX-XX-XXXX-C1.

    272.      Sherry Kidd had United Healthcare Insurance under Policy # 968461234 and

       United Healthcare Insurance under Policy # 968461234.

    273.      Charlotte King had Humana Insurance under Policy # H44286532 and Medicare

       Insurance under Policy # XXX-XX-XXXX-A.

    274.      Christopher Knauer had Anthem Insurance under Policy # R59093543, Humana

       Insurance under an unknown Policy #, Worker's Comp Insurance under Policy # 09-

       2038406 (Group #) and Medicare - Medicare confirmed no Medicare Insurance under

       Policy # XXX-XX-XXXX-A.

    275.      Maggie Knauer had BCBS - FEP / BCBS Association Insurance under Policy #

       R59093543 and Medicare Insurance under Policy # XXX-XX-XXXX-A.

    276.      Amanda Koch had Medicaid - Ohio - CareSource Insurance under Policy #

       10278837000 and Medicaid - Ohio - CareSource Insurance under Policy #

       103657798799.

    277.      Michael Koeblin had Allied Insurance under Policy # ZZ0059712.

    278.      Rose Koehler had Aetna Insurance under Policy # W151277487 and Medicare

       Insurance under Policy # XXX-XX-XXXX-A.




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    279.      Shannon Koehler had Anthem BCBS Insurance under Policy # CGH86865691

       and Medicare Insurance under Policy # XXX-XX-XXXX-A.

    280.      Valarie Kopp had Medicare Insurance under Policy # XXX-XX-XXXX-A, Anthem

       Insurance under Policy # YRN924M54464, Anthem/Medicare Insurance under Policy #

       YRA501M73713 and Humana Insurance under an unknown Policy #.

    281.      Sheila Krabacher had Medicaid Ohio - not sure who Insurance under an unknown

       Policy # and United Healthcare Insurance under Policy # 904025991.

    282.      Laura Kranbuhl-McKee had Aetna Insurance under Policy # W196024636-03 and

       Medicaid - Ohio - Caresource Insurance under Policy # 10344478600.

    283.      Larry Krech had Humana Insurance under Policy # 10533988, Medicare

       Insurance under Policy # XXX-XX-XXXX-A and Anthem BCBS Insurance under an

       unknown Policy #.

    284.      Brandon Lacinak had Medicaid - Ohio Insurance under Policy # 1021160200.

    285.      Victoria Landrum had Medicaid - Kentucky - KY Health Choices Insurance under

       Policy # 00-38592461.

    286.      Nicholas Langford had Medical Mutual Insurance under Policy # 3.53019E+11.

    287.      Thomas Lantry had Anthem Insurance under Policy # YRN002M65185.

    288.      Patricia Legendre had Anthem Insurance under an unknown Policy #, Humana

       Insurance under an unknown Policy # and Medicare Insurance under Policy # 271-56-

       1905-A.

    289.      Karen Leger had United Healthcare Insurance under Policy # 910754167.

    290.      Beth Leisring had Anthem BCBS Of Michigan Insurance under Policy #

       XYQ911967906, Kentucky Medicaid Insurance under Policy # 0011850771, KY



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       Medicaid Insurance under Policy # 11850771 and United Healthcare Insurance under

       Policy # 929139544.

    291.      Katie Lemkuhl had Aetna Insurance under Policy # 38592461, Health Alliance

       Insurance under Policy # 44375 and Humana Insurance under Policy # W4605 34558-02.

    292.      Sandra Lemmel had Anthem Insurance under Policy # YRR822M59403 and

       Medicare Insurance under Policy # XXX-XX-XXXX-A.

    293.      Ailene Levan had Anthem Insurance under an unknown Policy #, Anthem

       Insurance under Policy # YRP 462M56526 and Humana Insurance under Policy #

       H10944699.

    294.      Hillary Levandofsky had Amerigroup Insurance under Policy # 108305910399.

    295.      Adrian Lilly had Medicare Insurance under Policy # XXX-XX-XXXX-C2, OH

       Medicaid Insurance under Policy # 107305198799 and Medicaid - Ohio Insurance under

       Policy # 107305198799.

    296.      Derek List had Anthem Insurance under Policy # FXZ2143A24692 and Cigna

       Insurance under Policy # 40598763203.

    297.      Lynn List had Anthem Insurance under Policy # FXZ2143A24692 and Cigna

       Insurance under Policy # U0390615502.

    298.      Tammie Little had Medicaid - Ohio Insurance under Policy # 10415181900.

    299.      Tamala Lovette had Medicare Insurance under Policy # XXX-XX-XXXX-A and

       Humana Insurance under an unknown Policy #.

    300.      Kimberly Luse had Humana Insurance under Policy # 00-498283801.

    301.      Kenneth Mahlenkamp had United Healthcare Insurance under Policy #

       867663040 and United Healthcare Insurance under Policy # 867663040.



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    302.      Rhonda Mains had Medicare Insurance under Policy # XXX-XX-XXXX-A and

       TriCare Insurance under Policy # 402943058.

    303.      Shirley Mains had Medicare Insurance under Policy # XXX-XX-XXXX-A.

    304.      Vicky Mains had Medicaid - Kentucky - Wellcare Insurance under Policy #

       11909440 and Medicare Insurance under Policy # XXX-XX-XXXX-A.

    305.      Tammy Mann had Anthem Insurance under Policy # YRN447M63263 and

       Humana Insurance under an unknown Policy #.

    306.      Jack Marcheshci had Humana Insurance under Policy # 1988812.

    307.      Paul Marksberry had Medicare Insurance under Policy # XXX-XX-XXXX-TA.

    308.      Marsha Martin had Anthem Insurance under Policy # CBPAN0977196.

    309.      Stacy John Martin had United Healthcare Insurance under Policy # 833444385.

    310.      Robert Masters had United Healthcare Insurance under Policy # 938312721.

    311.      Traci Mathews had Medicaid - Ohio - Caresource Insurance under Policy #

       10346481100.

    312.      Brandon Mathis had Humana Insurance under an unknown Policy # and BCBS -

       FEP / BCBS Association Insurance under Policy # R58857721.

    313.      Mary Mauntel had United Healthcare Insurance under Policy # 865944913.

    314.      Kimberly Mayer had United Healthcare Insurance under Policy # 303063902404.

    315.      Derek Mayfield had Anthem Insurance under Policy # YRP973M72414.

    316.      James McCain had Aetna Global Benefits USA Insurance under Policy #

       W046210616.

    317.      Jenna McCall had Anthem Insurance under Policy # YRP334M9964 and Humana

       Insurance under Policy # YRP334M9964.



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    318.      Heather McCann had Medicare Insurance under Policy # XXX-XX-XXXX-A, United

       Healthcare Insurance under Policy # 811374620-00 and Medicaid - Ohio Insurance under

       Policy # 108992754399.

    319.      Hiram McCauley had Medicare Insurance under Policy # XXX-XX-XXXX-A, Aetna

       Insurance under Policy # W162879724 and Humana Insurance under an unknown Policy

       #.

    320.      Kyra McClendon had Anthem/Alabama Insurance under Policy #

       GZF815752481.

    321.      Jeff McClure had Humana Insurance under Policy # H58300338-00.

    322.      Kevin McDonald had Humana Insurance under Policy # XX-XXXXXXX.

    323.      Marcella McDonald had Humana Insurance under Policy # 00-704786.

    324.      Grant McKenny’s Insurance and Policy # will be added.

    325.      Candi McKinney’s Insurance and Policy # will be added.

    326.      Tyler McKnight had Medicaid - Ohio - Amerigroup Insurance under Policy #

       99013853200 and Medicaid - Ohio – Caresource under Policy # 103530259399.

    327.      Teresa McMillen had Medicare Insurance under Policy # XXX-XX-XXXX-A,

       Humana Insurance under Policy # XX-XXXXXXX and Anthem BCBS of Illinois Insurance

       under Policy # TGH841633529.

    328.      Mark McMurren had Medicare Insurance under Policy # XXX-XX-XXXX-A and

       Humana Insurance under Policy # XX-XXXXXXX.

    329.      Kameron McNeal had Humana Insurance under Policy # 003213962.

    330.      Kerry McNeal had Medicare Insurance under Policy # XXX-XX-XXXX-A and

       Humana Insurance under Policy # XX-XXXXXXX.



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    331.      Tonia McQueary had Aetna Insurance under Policy # W000766670, Medical

       Mutual / Teamcare Insurance under an unknown Policy #, United Parcel Service

       Insurance under an unknown Policy # and Medicare Insurance under Policy # 402-08-

       6855-A.

    332.      Tiffany Meadows had Medicaid - Ohio - Molina Insurance under Policy #

       105647413199.

    333.      Dawn Merland had Medicaid - Ohio - Caresource Insurance under Policy #

       10312226100 and Medicare Insurance under Policy # XXX-XX-XXXX-A.

    334.      Tiffany Messerschmidt had Aetna Insurance under Policy #W001517572-03.

    335.      Randall Metcalf had Cigna Insurance under Policy # U41701475-01 and

       Medicare Insurance under Policy # XXX-XX-XXXX-A.

    336.      Diane Meyer had Anthem Insurance under Policy # YRP312M5927.

    337.      Thomas Meyers had Anthem Insurance under Policy # CBPAN0977037.

    338.      Lyndsey Middendorf had Humana Insurance under Policy # H58724157-03,

       Anthem Insurance under an unknown Policy # and United Healthcare Insurance under an

       unknown Policy #.

    339.      Karen Miller had Anthem of Mississippi Insurance under Policy #

       HDG866433359M and Humana Insurance under an unknown Policy #.

    340.      Ryan Miller had Humana Insurance under Policy # XX-XXXXXXX and United

       Healthcare Insurance under Policy # 303063902404.

    341.      Samantha Mink had Aetna (Aetna US Healthcare - Blue Bell) Insurance under

       Policy # BBMFV4RD.

    342.      Vera Moffitt had Medicare Insurance under Policy # XXX-XX-XXXX-A.



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    343.      Junior Monroe had Medicare Insurance under Policy # XXX-XX-XXXX-A, Banker's

       Life Insurance under Policy # 203008175, Humana Insurance under an unknown Policy #

       and Medicaid - OH - Caresource Insurance under an unknown Policy #.

    344.      Billie Moore had Humana Insurance under Policy # XX-XXXXXXX.

    345.      Debbie Moore had Golden Rule Insurance under Policy # 0-90121972.

    346.      Donald Moore had Medicare Insurance under Policy # XXX-XX-XXXX-A.

    347.      Robert Moore had Medicaid - Ohio Insurance under Policy # 5011216875.

    348.      Stephanie Moore had Anthem BCBS Insurance under Policy # YRP212M55016.

    349.      Timothy Moore had Anthem Insurance under Policy # YRN256M56456.

    350.      William Moore had Aetna Insurance under an unknown Policy #, Humana

       Insurance under an unknown Policy # and United Healthcare Insurance under Policy #

       JD4679666.

    351.      Robert Mounce had Anthem Insurance under Policy # YRP530M68922 and Med

       Ben Insurance under Policy # 271825062.

    352.      Sarra Mueller had Medicaid - Ohio - CareSource Insurance under Policy #

       1032565800.

    353.      Stephanie Mueller had Anthem BCBS Insurance under Policy # YRP400709947,

       Anthem Access Insurance under Policy # 729M54251, Humana Insurance under Policy #

       00-624216902, Medicaid - Kentucky - Passport Insurance under Policy # KY0033362811

       and Medicaid - Ohio Insurance under Policy #.

    354.      Jennifer Myers had Anthem BCBS Insurance under Policy # HUM106695471001.

    355.      Joetta Nafe had Medicare Insurance under Policy # XXX-XX-XXXX-A.




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    356.      Tonya Neal had Humana Insurance under an unknown Policy #, Anthem

       Insurance under Policy # YRP182M53823, Medical Mutual Insurance under Policy #

       150013015 and United Healthcare Insurance under Policy # 810925271.

    357.      Charles Nelson had Aetna Insurance under Policy # BBMWHJ6D.

    358.      Gary Neu had Medicare Insurance under Policy # XXX-XX-XXXX-A, Aetna

       Insurance under Policy # W169236315 and Mutual of Omaha Insurance under Policy #

       75127389.

    359.      Marjorie Newman had Medicaid - Ohio - CareSource Insurance under Policy #

       104779364999.

    360.      Teresa Nichols had Medicare Insurance under Policy # XXX-XX-XXXX-A, Anthem

       BCBS Of Michigan Insurance under Policy # GHP922244383 and General Motors

       Insurance under Policy # HRI E#14657333.

    361.      Rahman Nisbett had Medicaid - KY Insurance under Policy # 5674197503,

       Medicaid - KY Insurance under Policy # 00-11609581, Medicaid - KY Insurance under

       Policy # 000-4736263 and Medicaid - KY - Coventry Insurance under Policy #

       83034117001.

    362.      Michelle Noble had Anthem BCBS Insurance under Policy # HEE843589581.

    363.      Gail Nordeman had Medicare Insurance under Policy # XXX-XX-XXXX-A and

       Plumbers Local Insurance under Policy # 281300323.

    364.      Ruvimbo Nyemba had Anthem Insurance under Policy # YRP719M64641.

    365.      Wendy Oberlander had Anthem BCBS of Illinois Insurance under Policy # and

       Aetna Insurance under an unknown Policy #.

    366.      Michael Odulana had Health Alliance Insurance under Policy # 166294827.



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    367.      Timothy Osborn had United Healthcare Insurance under Policy # 936858148.

    368.      Dannie Mae Owens had Medicare Insurance under Policy # XXX-XX-XXXX-A.

    369.      Haley Payne had Humana Insurance under Policy # XX-XXXXXXX.

    370.      Jeff Peddicord had Aetna Insurance under Policy # W116831974 and BCBS of IL

       Insurance under Policy # GPA833263128.

    371.      Hobert Duane Pelfrey had Aetna Insurance under Policy # W189602821.

    372.      Angela Pennington’s Insurance and Policy # will be added.

    373.      Kenneth Pfetsch had Medicare Insurance under Policy # XXX-XX-XXXX-A and

       United Healthcare Insurance under Policy # 022862088-11.

    374.      Clarence Phillips had Workers Comp Insurance under Policy # 08-810242 ST.

    375.      Heather Pickett had Medicare Insurance under Policy # XXX-XX-XXXX-C2 and

       Indiana Medicaid Insurance under Policy # 100377402199.

    376.      Crystal Pierce had Anthem Insurance under an unknown Policy #, Humana

       Insurance under Policy # and Medicaid - Ohio Insurance under an unknown Policy #.

    377.      Jeffrey Poff had Medicaid - Ohio - CareSource Insurance under Policy #

       10344561100, Medicare Insurance under Policy # XXX-XX-XXXX-A and Ohio Medicaid -

       AmeriGroup Community Care Insurance under Policy # 990071999.

    378.      Jeff Potts had Medicare Insurance under Policy # XXX-XX-XXXX-A and Humana

       Insurance under Policy # 000-480616.

    379.      Antoine Powell had Medicaid - OH Insurance under Policy # 314360179104.

    380.      Bryan Powers had Humana Insurance under Policy # XX-XXXXXXX.

    381.      Katie Prater had Aetna Insurance under Policy # W183781039 and Medical

       Mutual Insurance under Policy # 367938208215.



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    382.      Lawrence Pridemore had United Healthcare Insurance under Policy #

       3992295451 and Medicare Insurance under Policy # XXX-XX-XXXX-A.

    383.      Sharon Pritchard had Aetna Insurance under Policy # W017648429 and Humana

       Insurance under an unknown Policy #.

    384.      Sherri Morrissette Puckett had Anthem Insurance under Policy # YRS170M69969

       and United Healthcare Insurance under Policy # 902430301.

    385.      Carol Pummell had Community Insurance Company (BCBS) Insurance under an

       unknown Policy # and Tricare (Dept. of Air Force) Insurance under an unknown Policy #.

    386.      James Pumpelly had Anthem Insurance under Policy # YRR054M56324 and

       Medicare Insurance under Policy # 402387743A-A.

    387.      Marcia Quinn had United Healthcare Insurance under Policy # 923979095-00,

       BCBS of IL Insurance under Policy # SFZ842980615 and Medicare Insurance under

       Policy # XXX-XX-XXXX-A.

    388.      Sandra Radeke had Medicare Insurance under Policy # XXX-XX-XXXX-A and

       Anthem Insurance under Policy # YRN406M65810.

    389.      Margaret Radenheimer had Anthem Insurance under Policy # YRP871M59495.

    390.      Mary Ravenscraft had Anthem BCBS Insurance under Policy #

       MAXAN457O492.

    391.      Todd Ray had Medicare Insurance under Policy # XXX-XX-XXXX-A, Humana

       Insurance under Policy # 00-860408005, United Healthcare Insurance under Policy #

       860408005 and BCBS of KY Insurance under Policy # UHLAN4792319.

    392.      Samantha Redrow had Anthem Insurance under Policy # KROAN0383958.




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    393.      Danielle Reed had AmeriGroup Insurance under Policy # 108596485499 and

       Medicaid - Ohio - CareSource Insurance under Policy # 5085579968.

    394.      Mark Reed had Humana Insurance under an unknown Policy # and Medicare

       Insurance under Policy # XXX-XX-XXXX-A.

    395.      Jane Reeder had Medicare Insurance under Policy # XXX-XX-XXXX-A and Anthem

       Insurance under Policy # YRR399M65207.

    396.      Valerie Reeves had Amerigroup Insurance under Policy # 99011354800.

    397.      Holly Reifenberger had Medicaid - Ohio Insurance under Policy # 103780813499

       and Medicare Insurance under Policy # XXX-XX-XXXX-TA.

    398.      Jeffrey Remley had Medicare Insurance under Policy # XXX-XX-XXXX-A, Anthem

       Insurance under Policy # YRS437M72206, Anthem Insurance under Policy #

       YRS437M72206, Humana Insurance under an unknown Policy #, Medical Mutual of

       Ohio Insurance under an unknown Policy # and Ohio Medicaid Insurance under an

       unknown Policy #.

    399.      Derrill Reynolds had Medicaid - Ohio - WellCare Insurance under Policy #

       H9730 001 and had Medicare Insurance under Policy # XXX-XX-XXXX-A.

    400.      Harry Reynolds had Medicare Insurance under Policy # XXX-XX-XXXX-T and

       United Healthcare Insurance under Policy # 104814971.

    401.      Kent Reynolds had Humana Insurance under Policy # H02963870-00.

    402.      Lisa Reynolds had Humana Insurance under Policy # H02963870-00.

    403.      Jordan Ribariu had Aetna Insurance under an unknown Policy #.

    404.      John Richardson had Humana Insurance under Policy # H02185763.

    405.      Jason Riley had BWC/Ohio Workers Comp Insurance under Policy # 10-846021.



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    406.      Donna Rister had Humana Insurance under Policy # H51535547 and Medicare

       Insurance under Policy # XXX-XX-XXXX-A.

    407.      Deborah Roark had BCBS Insurance under Policy # KYUAN0688814.

    408.      Theresa Woods Robbinson had Medicare Insurance under Policy # XXX-XX-XXXX-

       A and Medicaid - Ohio Insurance under an unknown Policy #.

    409.      Kelly Robinson had Medicare Insurance under Policy # XXX-XX-XXXX-A, Humana

       Insurance under an unknown Policy # and UMR Insurance under Policy # XXX-XX-XXXX.

    410.      Debbie Rodriguez had Medicare Insurance under Policy # XXX-XX-XXXX-A and

       Humana Insurance under Policy # H06814337-02.

    411.      David Rohling had Humana Insurance under Policy # H5205106702 and

       Medicare Insurance under Policy # XXX-XX-XXXX-A.

    412.      Jason Romer had Humana Insurance under Policy # 12117901 and United

       Healthcare Insurance under Policy # 929498971.

    413.      Dorothy Rose had Humana Insurance under Policy # H57000269, Aetna

       Insurance under an unknown Policy # and Medicare Insurance under Policy # 402-38-

       6474-A.

    414.      Fay Rosebery had Tricare Insurance under Policy # 307348802 and Medicare

       Insurance under Policy # XXX-XX-XXXX-A.

    415.      Carol Ross had Humana Insurance under Policy # H51012165 and Medicare

       Insurance under Policy # XXX-XX-XXXX-A.

    416.      Sandra Roundtree had Medicare Insurance under Policy # XXX-XX-XXXX-A.

    417.      Ronald Rowley had Medicare Insurance under Policy # XXX-XX-XXXX-A and

       Medicaid - Ohio Insurance under Policy # 714699881.



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    418.      Joshua Roy had Anthem Insurance under Policy # YRM256M62177 and Medical

       Mutual of Ohio Insurance under an unknown Policy #.

    419.      Kathryn Rueve had Medicaid - Ohio Insurance under Policy # 10229372300.

    420.      Robert Runtz had Medicaid - Ohio - Caresource Insurance under Policy #

       10356326900.

    421.      Carson Rutter had Humana Insurance under Policy # H4204068402, Anthem

       Insurance under Policy # YRM046M60504, Medicaid - Ohio Insurance under Policy #

       107527587399, Healthspan Insurance under Policy # XH0050398 and Medicaid - Ohio

       Insurance under Policy # 107527587399.

    422.      Mike Sand had Anthem BCBS of NC Insurance under Policy # DUKW14481129

       and United Healthcare Insurance under Policy # 938745570.

    423.      Michael Sander had Medicare Insurance under Policy # XXX-XX-XXXX-A.

    424.      Chris Scheper had Humana Insurance under Policy # XX-XXXXXXX.

    425.      Robin Schiller had Humana Insurance under Policy # XX-XXXXXXX and Health

       Alliance Insurance under Policy # XX-XXXXXXX.

    426.      Joseph Schimmel had United Healthcare Insurance under Policy # XXX-XX-XXXX-A

       and Medicaid - Ohio Insurance under Policy # 314356515201.

    427.      Kevin Schmit had United Healthcare Insurance under Policy # 876871565.

    428.      Kim Schmit’s Insurance and Policy # will be added.

    429.      Patrick Schmit had United Healthcare Insurance under Policy # 909035691.

    430.      Brandon Schoborg had Anthem BCBS Insurance under Policy # YRP549M5430.

    431.      Susan Schock had Medicare Insurance under Policy # XXX-XX-XXXX-A.

    432.      Paul Scholz had Medicaid - Ohio Insurance under Policy #10300155400.



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    433.      Steven Schultz had Humana Insurance under Policy # XX-XXXXXXX.

    434.      Timothy Schulze had Humana Insurance under Policy # 5120513, Medicare

       Insurance under Policy # XXX-XX-XXXX-A and Medicare Insurance under Policy # 403-92-

       2761-A.

    435.      Ronald Schuster had United Healthcare Insurance under an unknown Policy #,

       United Healthcare Insurance under Policy # 865175271 and UMR Insurance under an

       unknown Policy #.

    436.      Delores Scott had Medicare Insurance under Policy # XXX-XX-XXXX-A, Humana

       Insurance under Policy # H57001660 and Aetna Insurance under an unknown Policy #.

    437.      Rhonda Scott had Medicare Insurance under Policy # XXX-XX-XXXX-A and

       Medicaid - Ohio - CareSource Insurance under Policy # 301528739.

    438.      Alexandra Scully had Medical Mutual Insurance under Policy # 3151195632849.

    439.      Ruthie Sears Medicaid - Ohio - CareSource Insurance under Policy #

       10247407300 and Ohio-Medicaid under Policy # 104333702999.

    440.      Dana Setters had BCBS of Mississippi Insurance under Policy #

       AZF866435266M.

    441.      Glenna Shafer had Anthem Insurance under Policy # ZEB904373463.

    442.      Asia Shannon had Medicaid - Ohio - CareSource Insurance under Policy #

       A0091490801.

    443.      Brenda Shell had Anthem Insurance under an unknown Policy # and Medicare

       Insurance under Policy # XXX-XX-XXXX-A.

    444.      David Shempert had Anthem BCBS of New Jersey Insurance under Policy #

       DRL3HZN40036190.



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    445.      Charlann Sheperd had Medicaid - Kentucky Insurance under Policy #

       XTF718441623.

    446.      Greg Shott had Anthem BCBS Blue Access Insurance under Policy #

       YRP032M55617.

    447.      Shandon Simmons had Medicaid - OH - Caresource Insurance under Policy #

       10276395900.

    448.      Karen Sisson had Anthem Insurance under Policy # YRN789M55621 and

       Humana Insurance under Policy # XX-XXXXXXX.

    449.      Michelle Sizemore had Humana Insurance under an unknown Policy # and

       Medicaid - Ohio - CareSource Insurance under Policy # 10360611800.

    450.      Heather Slayback had Medicaid - Indiana Insurance under Policy # 10441882677.

    451.      Crystal Slone had Medicaid - KY- KY Spirit Health Choices Insurance under

       Policy # 000-4842092 and Medicare Insurance under Policy # XXX-XX-XXXX-A.

    452.      Donna Smallwood had Medicaid - Ohio Insurance under an unknown Policy #

       and Medicare Insurance under Policy # XXX-XX-XXXX-A.

    453.      David Smith had Humana Insurance under Policy # 00-899934701.

    454.      Donald Smith had Humana Insurance under Policy # 9805955561, Medicaid - KY

       - KY Health Spirit Choices Insurance under Policy # XX-XXXXXXX and Medicare Insurance

       under Policy # XXX-XX-XXXX-A.

    455.      Staci Smith had United Healthcare Insurance under Policy # 976969155.

    456.      Orris Smoote had Medicaid - Ohio - Amerigroup Insurance under Policy #

       319252129601 and Medicare Insurance under Policy # XXX-XX-XXXX-M.




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    457.      David Snider had Medicare Insurance under Policy # XXX-XX-XXXX-A and

       Medicaid - Ohio Insurance under Policy # 10292342000.

    458.      Sherrie Spangenberg had Healthspan Insurance under an unknown Policy #

       890128380.

    459.      Billy Spivy had Medicare Insurance under Policy # XXX-XX-XXXX-A and Medicaid

       - Ohio Insurance under Policy # 106639930299.

    460.      Zachary Stacy had Humana Insurance under an unknown Policy #.

    461.      Eddie Stallings had Anthem Insurance under Policy # R58191167 and Medicare

       Insurance under Policy # XXX-XX-XXXX-A.

    462.      Earl Stamps had Medicaid - Ohio - CareSource Insurance under Policy #

       10268025400.

    463.      Richard Stanfield had Medicare Insurance under Policy # XXX-XX-XXXX-A,

       Humana Insurance under an unknown Policy # and BCBSTN Insurance under Policy #

       AVE900704509.

    464.      Michelle Stephens had Kentucky Medicaid Insurance under Policy # XX-XXXXXXX

       and Medicare Insurance under Policy # XXX-XX-XXXX-A.

    465.      Patrick Stephenson had Medicare Insurance under Policy # XXX-XX-XXXX-A and

       HealthSpan Preferred-MedBen Insurance under Policy # XXX-XX-XXXX.

    466.      Tempie Stephenson had Medicaid - OH Insurance under Policy # 0-14010731902.

    467.      Darlene Sterling had Medicare Insurance under Policy # XXX-XX-XXXX-A and

       Humana Insurance under Policy # H30018322-01.

    468.      Bert Stidham had Anthem BCBS Insurance under Policy # APUAN2074147.




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    469.      Deon Stigall had Medicaid - Ohio - CareSource Insurance under Policy #

       31441258620.

    470.      Sierra Stratman had Medicaid - Kentucky - KY Health Choices Insurance under

       Policy # XX-XXXXXXX.

    471.      Deborah Sturdivant had BCBS Insurance under Policy # R58981235.

    472.      Ryan Tackett had Anthem Insurance under an unknown Policy #.

    473.      Ryan Tanner had Custom Design Benefits Insurance under an unknown Policy #.

    474.      Alexander Taylor had Medicaid- Kentucky Insurance under Policy #2967252203.

    475.      Karen Taylor had Medicare Insurance under Policy # XXX-XX-XXXX-A and

       Medicaid - Ohio - CareSource Insurance under Policy # 1042491300.

    476.      Kathleen Telscher had Medical Mutual / SuperMed Insurance under Policy #

       357795371388.

    477.      Ben Thaeler had Anthem Insurance under Policy # YRP780M53854.

    478.      Brittany Theilman’s Insurance and Policy # will be added.

    479.      Brian Thien had Humana Insurance under Policy # 1945914.

    480.      Edward Thiessen had Aetna Insurance under Policy # W172878595 and Aetna

       Insurance under Policy # W172878595.

    481.      Adrienne Thomas had Anthem - ITS Insurance under Policy # NCY843566294.

    482.      Clara Tubbs-Hill had Medicare Insurance under Policy # XXX-XX-XXXX-A, Anthem

       BCBS of Virginia Insurance under Policy # RES888A22895 and Humana Insurance

       under an unknown Policy #.

    483.      Connie Underwood had Medicare Insurance under Policy # XXX-XX-XXXX-B and

       BCBS of Kentucky (Medicare Supplement) Insurance under Policy # YRR796M63276.



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    484.     Kimberly Underwood had UMR Insurance under Policy # Y14381148, Wells

       Fargo TPA Insurance under Policy # 5396001839209 and Medicare Insurance under

       Policy # XXX-XX-XXXX-A.

    485.     Jacklen Upchurch had BWC Insurance under Policy # 06-401519 and Medicare

       Insurance under Policy # XXX-XX-XXXX-TA.

    486.     Jordan Vance had BSBS West Virginia Highmark Mountain State Insurance under

       Policy # ZPN115401247001.

    487.     Brooke Vandervort had United Healthcare Insurance under Policy # 957190340.

    488.     Ashley Walker had Starbridge (Cigna) Limited Benefit Health Plan Insurance

       under Policy # 237672752.

    489.     Shannon Wallace had Medical Mutual Insurance under Policy # 351912322039.

    490.     Vicki Wallace had Anthem Insurance under an unknown Policy #.

    491.     Katherine Walls’ Insurance and Policy # will be added.

    492.     Lindsey Walsh had Humana Insurance under an unknown Policy #.

    493.     Tracey Walsh had United Healthcare Insurance under an unknown Policy # 0-

       14352700.

    494.     Michelle Walters had Humana Insurance under Policy # 1002347.

    495.     Helen Ward had Medicare Insurance under Policy # XXX-XX-XXXX-D6 and

       Humana Insurance under Policy # H06007549.

    496.     Michael Watkins had Medicaid - Ohio - Caresource Insurance under Policy #

       10343553000, Medicare Insurance under Policy # XXX-XX-XXXX-A, Medicaid - Ohio -

       CareSource Insurance under Policy # 10356326900 and United Healthcare Insurance

       under Policy # 942911884-00.



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    497.      Elaine Waxler had United Healthcare Insurance under Policy # 039038262-11 and

       Medicare Insurance under Policy # XXX-XX-XXXX-A.

    498.      Daniel Webber had United Healthcare Insurance under an unknown Policy # and

       Humana Insurance under an unknown Policy #.

    499.      Cathleen Weber had Medicaid - Ohio Insurance under Policy # 104131081299

       and Medicaid - Ohio - CareSource Insurance under Policy # 10273262200.

    500.      Brandon Webster had Anthem Insurance under Policy # GGRAN2263365.

    501.      Laura Weisbecker had Aetna Insurance under an unknown Policy # and Medicaid

       - Ohio Insurance under an unknown Policy #.

    502.      Kirstin Weisman had Central States Insurance under an unknown Policy # and

       United Healthcare Insurance under Policy # 0-9008043304.

    503.      Regina Wesley had Medicare Insurance under Policy # XXX-XX-XXXX-A, Anthem

       Insurance under Policy # R51081077 and Humana Insurance under an unknown Policy #.

    504.      Timothy Whalen had Medicare Insurance under Policy # XXX-XX-XXXX-A.

    505.      Violet Whalen’s Insurance and Policy # will be added.

    506.      Lonnie Wheeler had Medicare Insurance under Policy # XXX-XX-XXXX-A and

       Anthem Insurance under Policy # UME100012049.

    507.      Sophia White had BWC - Sedwick Clams Mgmt. Services Insurance under Policy

       # 11-846121.

    508.      Tamathy Wilder had Medicaid - Kenpac Insurance under Policy # 00-24414181

       and Medicaid - KY- KY Spirit Health Choices Insurance under Policy # 000-4061193.

    509.      Troy Wilder had Aflac Insurance under an unknown Policy #, Anthem Insurance

       under Policy # YRP011M54411 and Humana Insurance under an unknown Policy #.



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    510.      Ben Williams had UMR Insurance under Policy # 13825277 and Workers' Comp -

       Summit Insurance under Policy # Claim 756234.

    511.      Kelly Williams had Medicare Insurance under Policy # XXX-XX-XXXX-A.

    512.      Patrick Willoughby had Medicare Insurance under Policy # XXX-XX-XXXX-A.

    513.      Carol Wilson had Medicare Insurance under Policy # XXX-XX-XXXX-A and

       Medicaid - Ohio - CareSource Insurance under Policy # 10315683200.

    514.      Jetton Wilson had Medicare Insurance under Policy # XXX-XX-XXXX-TA and

       Cigna/APWU Insurance under Policy # W56084670.

    515.      Joseph Wilson had Anthem Insurance under Policy # MEU330M57458 and

       Anthem BCBS of Texas / Highmark Insurance under Policy # CXM106095965001.

    516.      Paul Wilson had Cigna Insurance under Policy # U39899677 and Medicare

       Insurance under Policy # XXX-XX-XXXX-A.

    517.      Paula Wilson had Medicaid - Ohio Insurance under Policy # 94045659302.

    518.      Robert Wilson had Medicare Insurance under Policy # XXX-XX-XXXX-A.

    519.      Terry Wilson’s Insurance and Policy # will be added.

    520.      Vicky Wilson had UMR Insurance under Policy # 12910312.

    521.      Dawn Wingert had Humana Insurance under Policy # 10406366 and Anthem

       Insurance under Policy # YRP425M535756.

    522.      Priscilla Wittmeyer had Medicare Insurance under Policy # XXX-XX-XXXX-A,

       United Healthcare Insurance under Policy # XXX-XX-XXXX-A, Anthem BlueCross

       BlueShield Insurance under an unknown Policy # and United Healthcare Insurance under

       Policy # 310787742-11.




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    523.      William Wolder had BlueCross Blue Shield of Minnesota (BSBSMN) Insurance

       under Policy # UBJXZ25244155, Cigna Insurance under Policy # 0-4487462001 and

       Medicare Insurance under Policy # XXX-XX-XXXX-A.

    524.      Billy Wolsing had Anthem Insurance under Policy # YRP660M59465, Cigna-

       GWH PPO Insurance under Policy # XXX-XX-XXXX, Medicaid - Kentucky - WellCare

       Insurance under an unknown Policy # and United Healthcare Insurance under Policy #

       963813774.

    525.      Carla Wooten had BCBS of Texas Insurance under Policy # KROAN1774807,

       BCBS of Texas Insurance under Policy # KROAN1774807 and BCBS of Texas Insurance

       under Policy # KROAN1774807.

    526.      Amber Work had Aetna - Medicaid - Kentucky Insurance under Policy # 00-

       16006131.

    527.      Deborah Worley had Medicare Insurance under Policy # XXX-XX-XXXX-A and had

       Cigna/APWU Insurance under Policy # 365221429.

    528.      Teresa Worley had Medicaid - Ohio Insurance under Policy # 5055760135/MA

       J/01 and Medicare Insurance under Policy # XXX-XX-XXXX-A.

    529.      Cory Wright had Humana Insurance under an unknown Policy # and Anthem

       Insurance under Policy # YRP734M59844.

    530.      Leah Wright had Medicare Insurance under Policy # XXX-XX-XXXX-A and Humana

       Insurance under Policy # H44535279.

    531.      Cheryl Wyatt had Medical Mutual Insurance under an unknown Policy #.

    532.      Emanual Wyatt’s Insurance and Policy # will be added.

    533.      Veronica Yeakle’s Insurance and Policy # will be added.



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    534.      Evelyn Young had Medicare Insurance under Policy # XXX-XX-XXXX-A and

       Medicaid - Ohio Insurance under Policy # 100443-52-8399.

    535.      Joann Young had Medicaid - KY - Coventry Insurance under Policy # 940632748,

       Medicaid - Ohio Insurance under an unknown Policy # and Medicare Insurance under

       Policy # XXX-XX-XXXX-A.

    536.      Judy Young had Medicare Insurance under Policy # XXX-XX-XXXX-A, Humana

       Insurance under an unknown Policy # and Medicaid - Ohio Insurance under Policy #

       103772253399.

    537.      Keith Young had Anthem Insurance under Policy # YRP153M55326.

    538.      Corinne Zachry had United Healthcare Insurance under Policy # 806917913 and

       Healthspan Preferred - Allied Benefits Insurance under Policy # ZZ0011772.

    539.      Hannah Zmyslo had UMR Insurance under Policy # TG0000276 and United

       Healthcare Insurance under Policy # 916306752.

    540.      Mary Zureick had Medicare Insurance under Policy # XXX-XX-XXXX-A and Anthem

       Insurance under an unknown Policy #.




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                                     PRAYER FOR RELIEF

        Plaintiffs seek any and all relief to which they are entitled including waiver or release of

 all healthcare liens created by the preapproval of unnecessary surgery.

                                                       /s/ Benjamin Maraan II
                                                       Benjamin M. Maraan II, (#0053661)
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                                                       Independence, Ky 41051
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                                                       Mobile: (513) 448-7024
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                                                       llittle@ericdeters.com
                                                       Counsel for Plaintiffs


                                         JURY DEMAND

 Plaintiffs make a demand for a jury under all claims.
                                                      /s/ Benjamin Maraan II
                                                      Benjamin M. Maraan II, (#0053661)




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